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 8
                         IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE DISTRICT OF ARIZONA
10
11
     United States Securities and Exchange        Case No. CV-23-02470-PHX-DLR
12   Commission,
13                                                NOTICE OF FILING OF
                  Plaintiff,                      ARCITERRA RECEIVER’S
14                                                FIRST STATUS REPORT
     v.
15
16   Jonathan Larmore, et al.,

17                Defendants, and
18
     Michelle Larmore; Marcia Larmore;
19   CSL Investments, LLC;
     MML Investments, LLC;
20   Spike Holdings, LLC;
21   and JMMAL Investments, LLC,

22                Relief Defendants.
23
24
25
26
     1
27       Admitted pro hac vice.
     2
         Admitted pro hac vice.
28
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 1            Allen D. Applbaum, as receiver for ArciTerra Companies, LLC, and related entities,
 2
     by and through his counsel, Archer & Greiner, P.C., hereby files this Notice of Filing of
 3
     ArciTerra Receiver’s First Status Report, as follows:
 4
 5            1.    Filed herewith, pursuant to paragraph 38 of the Order Appointing Receiver,

 6   Freezing Assets, and Imposing Litigation Injunction [ECF No. 154], is the ArciTerra
 7
     Receiver’s First Status Report.
 8
     Dated: June 7, 2024                               ARCHER & GREINER, P.C.
 9
10
                                                       By:
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ArciTerra Receiver’s
First Status Report


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June 7, 2024
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RECEIVER'S FIRST STATUS REPORT
Allen D. Applbaum, in his capacity as Receiver (the "Receiver") of the ArciTerra Companies, LLC; ArciTerra Note
Advisors II, LLC; ArciTerra Note Advisors III, LLC; ArciTerra Strategic Retail Advisors, LLC; and Cole Capital Funds,
LLC, in United States Securities and Exchange Commission v. Jonathan Larmore, et al, Defendants, and Michelle
Larmore; Marcia Larmore; CSL Investments, LLC; MML Investments, LLC; Spike Holdings, LLC; and JMMAL
Investments, LLC, Relief Defendants (together the “Defendants”), pursuant to the to the Order Appointing
Temporary Receiver and Temporarily Freezing Assets and Imposing Litigation Injunction [ECF No. 77], Temporary
Restraining Order [ECF No. 78] and the Order Appointing Receiver and Freezing Assets and Imposing Litigation
Injunction [ECF No. 154] (collectively the “Receivership Order”) respectfully files his First Status Report, covering
the period from December 21, 2023 through April 30, 2024.
The purpose of the First Status Report is to provide the Court with a report and accounting of Receivership Assets,
as well as:

        A summary of the operations of the Receiver.
        The amount of cash on hand, the amount of administrative expenses, and the amount of
         unencumbered funds in the Receivership estate.
        A schedule of the Receiver’s receipts and disbursements.
        A description of known Receivership Assets.
        A description of liquidated and unliquidated claims against, and held by, the Receivership Estate and
         approximate valuations of claims.
        The Receiver’s recommendations for a continuation or discontinuation of the receivership and the
         reasons for the recommendations.
        A recommendation on whether to modify the list of Receivership Entities.
        Additional facts pertinent to the Receiver’s efforts to operate the ArciTerra Entities, and the efforts to
         make investors and creditors whole.


This First Status Report represents information for the period specified and as of the date submitted. This First
Status Report draws no actionable conclusions beyond those, if any, as may expressly be stated herein. No direct
relief is sought before the Court against anyone at this time. The Receiver intends to continue his activities and
reserves all rights to amend or supplement the information set forth herein and to assert the rights of the
Receivership as against any party, as may be appropriate.




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I. Background
A. Procedural Background
  1.    On December 21, 2023, Allen D. Applbaum was appointed Receiver in United States Securities and
        Exchange Commission v. Jonathan Larmore, et al. (No. 2:23-cv-02470-PHX-DLR) for the receivership
        estate of the Receivership Entities (the ArciTerra Funds, the Receivership Defendants, and the known
        and unknown Affiliates of the Receivership Defendants as defined in ECF No. 154) (the “Receivership
        Estate”), including the Receivership Assets. The Receivership Order authorizes the Receiver to:1
            a.   Preserve the status quo to enable the Receiver to perform the duties specified hereunder.
            b.   Ascertain the financial condition of the Receivership Entities and Receivership Assets (as
                 defined in the Receivership Order).
            c.   Oversee and manage, consistent with the relevant governing documents and applicable law,
                 the Receivership Entities and Receivership Assets.
            d.   Prevent the encumbrance or disposal of the Receivership Assets contrary to the Receiver’s
                 mandate.
            e.   Preserve the books, records, and documents of the Receivership Entities and Receivership
                 Assets.
            f.   Manage litigation by and against the Receivership, the Receivership Entities and the
                 Receivership Assets.
            g.   Propose for Court approval a fair and equitable distribution of the remaining Receivership
                 Assets.
            h.   Be available to respond to investor inquiries.
  2.    The Receiver, Allen D. Applbaum, is a Partner with StoneTurn Group, LLP (“StoneTurn”), and has more
        than 30 years of experience in litigation, investigations, business intelligence, corporate governance,
        receiverships, monitoring, and compliance. In connection with his management of high-profile
        investigations, Mr. Applbaum draws on his public and private sector experience to integrate investigative
        skills with technology and financial expertise to provide clients with seamless approaches to critical
        problems. Mr. Applbaum is a leading expert in independent monitorships and receiverships, providing
        oversight to the government, regulators, law enforcement and the judiciary. StoneTurn employs over
        150 professionals who the Receiver can call upon for appropriate work.
  3.    The Receivership Order authorizes the Receiver to retain personnel and legal counsel, including
        personnel and professionals of StoneTurn and Archer & Greiner, P.C. (“Archer” or “Counsel”), to assist


1 Receivership Order at pages 2-3.




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        in carrying out his duties and responsibilities (“Receivership Team”).2 StoneTurn’s team includes
        investigative, forensic accounting, real estate, forensic technology, data analytics, and corporate
        controller professionals. Archer’s team includes restructuring, tax, corporate, litigation, and real estate
        professionals. Since the appointment, at the direction of the Receiver, the Receivership Team has
        engaged in numerous tasks to fulfill its duties and responsibilities as authorized and directed by the
        Court.

B. Executive Summary
  4.    Following his appointment, the Receiver took immediate steps to assert control over the ArciTerra and
        Receivership Entities’ books, records, and accounts, and to oversee their accounting and cash
        management processes. At the time of his appointment, the Receiver inherited a largely crumbling and
        neglected Receivership Estate, as Mr. Larmore largely abandoned ArciTerra in approximately April 2023,
        if not earlier. Mr. Larmore shut down ArciTerra’s office in Arizona and fired most of the employees,
        leaving the bulk of the management of ArciTerra to two remote consultants (Blaine Rice and Dan
        DeCarlo), one non-employee part-time bookkeeper, and one non-employee part-time office staff person
        at Fishermen’s Village in Punta Gorda, Florida.3 Mr. Larmore officially resigned from his position as
        Manager of ArciTerra on September 1, 2023, and Messrs. Rice and DeCarlo left or stopped providing
        services to ArciTerra in October 2023 and December 2023, respectively.
  5.    Since his appointment, the Receiver took the necessary steps to secure and preserve the Receivership
        Entities’ information systems containing e-mails, electronic files, investor management, accounting
        systems, digital images of certain computers used by former ArciTerra employees, and incoming postal
        mail.
  6.    In addition, the Receiver, with the assistance of the Receivership Team, including a professional serving
        as the Receiver’s Chief Financial Officer, asserted dominion and control over dozens of bank accounts
        and ensured that the appropriate signatories were installed, and others removed, as appropriate, and
        opened new bank accounts to facilitate financial oversight over the Receivership Entities.
  7.    The Receiver developed an operating model, processes, and procedures to manage entity and asset
        operations of the Receivership Entities, which include 257 ArciTerra-related entities and 48 properties.
        The Receivership Team implemented financial and operational controls, as well as day-to-day business
        processes to support financial, risk management, and ongoing business operations.



2 Receivership Order at ¶44.
3 Deposition of Kathleen Bouet by the Securities and Exchange Commission on September 28, 2023, at page

101, lines 22 – 23.




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8.    The Receiver identified and paid delinquent real estate taxes for a number of real properties and paid
      delinquent sales taxes to the Florida Department of Revenue on behalf of the Village Brewhouse
      operations.
9.    The Receiver took control of and is actively managing the 48 commercial and residential properties,
      including: collecting delinquent and previously ignored rents, as well as current rents from approximately
      169 tenants across 15 states; attending to tenants' concerns and those of city, county and local
      governmental authorities; monitoring insurance coverage recently obtained on properties where
      coverage had lapsed prior to the commencement of the Receivership; and engaging with lenders and
      tax authorities to address delinquencies and achieve forbearances or pauses, and developing strategies
      for the maintenance or disposition of the properties.
10.   The Receiver and Receivership Team are, and have been, identifying and locating assets, liabilities,
      creditors, and investors in the Receivership Assets to work toward protecting the value of such Assets
      to ultimately satisfy claims against and obligations of the Receivership Entities, where appropriate and
      in due course, and according to a plan to be presented to the Court at a later date.
11.   The Receiver’s ongoing work includes: analyzing the complex ownership structures related to various
      investment programs; analyzing related flow of funds between the many ArciTerra Entities (that could
      be identified to date) and assessing against the offering documents shared with brokers and potential
      investors; reviewing various fee calculations, payments, and allocation; searching for evidence to
      support transactions recorded in the books of the hundreds of ArciTerra Entities; analyzing the
      distribution of investor funds and “waterfall” calculations contemplated in investment offering
      documents and operating agreements; identifying and analyzing intercompany transactions, investor
      communications, accounting records, bank statements, loan agreements, and forbearance
      agreements; and independently verifying the ownership and clear title to Receivership Assets and
      Receivership Entities through public record review and analysis.
12.   The Receiver assumed more than 100 active litigation proceedings across the United States. These
      lawsuits include claims against ArciTerra, Mr. Larmore and Receivership Entities, and seek monetary
      awards, foreclosure, and other damages, highlighting the fact that there are competing interests for the
      limited Receivership Estate. These matters generally are stayed, consistent with the Receivership Order.
13.   To date, the Receivership Team has conducted interviews of 17 former ArciTerra employees, contractors
      and consultants, independently, impartially, and consistent with the Receiver’s objectives to understand
      and take control over the Receivership Estate.
14.   The Receivership is a complex and vast undertaking, potentially involving hundreds of millions in
      investor funds, outstanding loans, and other creditor obligations.




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II. Actions Taken by the Receiver During the Reporting Period
A. Notice of Receivership
 15.    The Receiver, in compliance with 28 U.S.C. § 754, submitted for filing notices of the Receivership in
        approximately 88 federal districts in the country.
 16.    The Receiver issued notice of the Receivership to relevant parties including known pending litigation
        parties.
 17.    The Receiver also issued a press release on January 10, 2024, informing the public of his appointment
        as Receiver of the Receivership Entities.

B. Website/Ongoing Communications
 18.    The Receiver established a website, available at ArciTerraReceivership.com, containing key court
        documents, information, and updates regarding these proceedings. The website went live on January 8,
        2024. The Receiver will continue to update this website with key court documents, news and updates,
        reports from the Receiver, answers to frequently asked questions, and other pertinent information
        including, in due course, the ability for investors, creditors and other stakeholders to submit claims. The
        Receiver has also established a telephone number (212-430-3488) and email address
        (receiver@arciterrareceivership.com) for inquiries and questions from employees of the Receivership
        Entities, investors, creditors, other stakeholders, and interested parties.

C. Litigation and Third-Party Claims
 19.    The Receiver identified over 100 civil court cases pending against Receivership Entities, in which
        plaintiffs seek relief, including monetary damages. As set forth above, these cases highlight the risk that
        there are several interests competing for proceeds from the Receivership Entities. These litigations
        generally are stayed consistent with the Receivership Order. These matters, to date, generally fall under
        three categories: (i) personal injury claims, (ii) non-payment claims, and (iii) other actions. The
        Receivership Team is actively monitoring these matters to determine how the actions impact the
        Receiver’s mission.

D. Receivership Operations
 20.    In this section, the Receiver describes a) the process of identifying the bank accounts associated with
        the Receivership Assets and obtaining access and control of such accounts, b) the assessment of the
        state of ArciTerra’s accounting function, and c) the establishment of cash, vendor, and property
        management functions to support the operations of the Receivership.




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            i.   Bank Accounts and Cash Balances

  21.    Upon appointment, the Receiver was provided with a non-exhaustive list of ArciTerra entities and
         affiliates. However, the Receiver was not initially provided with documentation listing all ArciTerra
         commercial properties. Through discussions with former ArciTerra associates and additional,
         independent research conducted by the Receivership Team, the Receiver identified, took control of, and
         now actively manages 39 commercial properties. These 39 commercial properties exclude
         approximately 30 properties lost to pre-existing receiverships, 6 properties lost to bank foreclosures,
         and 2 properties lost to a tax lien sale prior to the Receiver’s appointment.

                            Commercial Property Description                        Count
                            Initial List of Known ArciTerra Properties              77
                            Pre-Receivership:
                              Lost to Pre-Existing Receiverships                     30
                              Lost to Bank Foreclosures                               6
                              Lost to Tax Lien Sale                                   2
                            Remaining Receivership Properties                        39
  22.    Of the 39 active, commercial properties in the Receivership Estate, 10 are single, or stand-alone, assets
         and 29 properties are cross-collateralized and syndicated with Commercial Mortgage-Backed Securities
         (“CMBS”) within multi-property portfolios. Below is a list of the 39 commercial properties. See Exhibit 1
         for a map of the properties’ locations and see Exhibit 2 for a detailed list of all commercial and
         residential properties.

                                           Receivership Commercial Properties

  No.       Asset Group                      ArciTerra Entity                                   Address
                                                                              155, 159, 163, 167 Palencia Village Drive,
   1      Single Property          ATA Mercado St. Augustine FL, LLC
                                                                                      St. Augustine, FL 32095
                                                                                     7440 US Highway 1 North,
   2      Single Property          ATA Palencia St. Augustine FL, LLC
                                                                                      St. Augustine, FL 32095
                                                                                      3200 E Glenrosa Avenue,
   3      Single Property                  Glenrosa 32, LLC
                                                                                         Phoenix, AZ 85018
                                       AT Auburn Plaza IN II, LLC                    506 North Grandstaff Drive,
   4        REIT 36504
                                     AT Auburn Plaza Member, LLC                          Auburn, IN 46706
                                    ATA Lanier Fayetteville GA II, LLC                 320 W. Lanier Avenue,
   5         REIT 3650
                                    ATA Lanier Fayetteville Member                     Fayetteville, GA 30214
                                       AT HL Burlington IA II, LLC                       3351 Agency Street,
   6         REIT 3650
                                     AT HL Burlington Member, LLC                       Burlington, IA 52601
                                        AT Ville Platte LA II, LLC                      915 E. LaSalle Street,
   7         REIT 3650
                                      AT Ville Platte Member, LLC                       Ville Platte, LA 70586

4 REIT 3650 properties include secondary “Member” entity owners, tied to a mezzanine loan on the portfolio.




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                                        Receivership Commercial Properties

  No.       Asset Group                  ArciTerra Entity                                    Address
                                AT Altus Cumberland GA II, LLC                      2997 Cumberland Circle,
   8         REIT 3650
                              AT ALTUS Cumberland Member, LLC                          Atlanta, GA 30339
                                      AT Sweden NY II, LLC                        1651 Nathaniel Poole Trail,
   9         REIT 3650
                                    AT Sweden Member, LLC                             Brockport, NY 14420
                                     AT Eastman GA II, LLC                              970 Indian Drive,
  10         REIT 3650
                                   AT Eastman Member, LLC                             Eastman, GA 31023
                                 AT New Lenox IL-Inline II, LLC                    2021 East Laraway Road,
  11         REIT 3650
                                 AT New Lenox-IL Member, LLC                          New Lenox, IL 60451
                                     AT Longview TX II, LLC                             711 Estes Drive,
  12         REIT 3650
                                   AT Longview Member, LLC                            Longview, TX 75602
                                AT Seven Hills Aurora CO II, LLC                  18511 E. Hampden Avenue,
  13         REIT 3650
                              AT Seven Hills Aurora Member, LLC                        Aurora, CO 80013
                                     AT Mayodan NC II, LLC                           131 Commerce Drive,
  14         REIT 3650
                                   AT Mayodan Member, LLC                             Mayodan, NC 27027
                                     AT PT Danville IL II, LLC                       22 West Newell Road,
  15         REIT 3650
                                  AT PT Danville Member, LLC                           Danville, IL 31082
                                 5339 Elvis Presley Boulevard                    5339 Elvis Presley Boulevard,
  16           Rialto
                                        Memphis TN, LLC                               Memphis, TN, 38116
                             700 North Grand Avenue Mt. Pleasant                   700 North Grand Avenue,
  17           Rialto
                                             IA, LLC                                 Mt. Pleasant, IA 52641
                              8001 Vaughn Road Montgomery AL,                         8001 Vaughn Road,
  18           Rialto
                                               LLC                                   Montgomery, AL 36116
                                                                                       601 Trenton Road,
  19           Rialto          601 Trenton Road McAllen TX, LLC
                                                                                       McAllen, TX 78504
                                60 Colonial Promenade Parkway                   60 Colonial Promenade Parkway,
  20           Rialto
                                       Alabaster AL, LLC                              Alabaster, AL 35007
                                                                                       81 Jameson Lane,
  21           Rialto         81 Jameson Lane Greenville AL, LLC
                                                                                      Greenville, AL 36037
                              752 South Andy Griffith Parkway Mt.                752 S. Andy Griffith Parkway,
  22           Rialto
                                         Airy NC, LLC                                  Mt. Airy, NC 27030
                                                                                   1921 Gallatin Pike North,
  23           Rialto         1921 Gallatin Pike Nashville TN, LLC
                                                                                      Madison, TN 37115
                              5450 US Highway 80 East Pearl MS,                    5450 US Highway 80 East,
  24           Rialto
                                            LLC                                         Pearl, MS 39208
                                                                                      412 Cross Oaks Mall,
  25           Rialto        412 Cross Oaks Mall Plainwell MI, LLC
                                                                                      Plainwell, MI 49080
                              2513 E. North Street Kendallville IN,               2513-2521 E North Street,
  26           Rialto
                                             LLC                                     Kendallville, IN 46755
                                                                                5157 Jimmy Lee Smith Parkway,
  27           Rialto5             ATA Hiram Square GA, LLC
                                                                                        Hiram, GA 30141
                                                                                    10000 US Highway 521,
  28       KS State Bank        ArciTerra FD Greeleyville SC, LLC
                                                                                     Greeleyville, SC 29056


5 The Hiram Square property is not cross-collateralized with other Rialto properties listed.




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                                       Receivership Commercial Properties

 No.       Asset Group                  ArciTerra Entity                                   Address
                                                                                     2135 Lowes Drive,
 29       KS State Bank         ArciTerra VN Clarksville TN, LLC
                                                                                    Clarksville, TN 37040
                                                                                      100 Lowes Road,
 30       KS State Bank          ArciTerra VN Dickson TN, LLC
                                                                                     Dickson, TN 37055
                                                                                  8488 Brown Deer Road,
 31       KS State Bank        ArciTerra WG Milwaukee WI, LLC
                                                                                    Milwaukee, WI 53223
                                                                                    2719 Emerson Drive,
 32      Single Property              Walcent Elk/IN, LLC
                                                                                      Elkhart, IN 46514
                                                                                   900 W. Marion Avenue,
 33      Single Property           900 West Marion FL LLC
                                                                                       Punta Gorda, FL
                                                                                 12051 S Renner Boulevard,
 34      Single Property          ArciTerra BP Olathe KS, LLC
                                                                                      Olathe, KS 66061
                                                                                   15085 W 119th Street,
 35      Single Property           AT Olathe Outlot 5, LLC*
                                                                                      Olathe KS 66602
                                                                                      E. Laraway Road,
 36      Single Property        AT New Lenox IL-Outlots, LLC*
                                                                                    New Lenox, IL 60451
                                                                                  1000 W. Marion Avenue,
 37      Single Property       1000 WEST MARION PG FL LLC*
                                                                                   Punta Gorda, FL 33950
         925 W. Marion/     925 W. Marion/960 W. Olympia FL,                       925 W. Marion Avenue,
 38
         960 W. Olympia                    LLC*                                    Punta Gorda, FL 33950
         925 W. Marion/     925 W. Marion/960 W. Olympia FL,                      960 W. Olympia Avenue,
 39
         960 W. Olympia                    LLC*                                    Punta Gorda, FL 33950
* Indicates a non-revenue producing entity

23.     The Receivership Order provides that the Receiver is to “have exclusive control of, and be made the sole
        authorized signatory for, all accounts at any bank, brokerage firm or financial institution that has
        possession or control of any Receivership Assets” (Receivership Order IV 6. F.). While a “non-exhaustive
        list of known bank accounts” is set forth in Exhibit B to the Receivership Order, the Receiver identified
        and obtained “exclusive control” of bank accounts subject to the Receivership Order.

                a.   Identifying and Obtaining Control of Bank Accounts

24.     The Receivership Team searched for bank account information in the ArciTerra SharePoint site,
        documents provided by the SEC, the MRI accounting system, and records maintained by ArciTerra’s
        former bookkeeper. The Receivership Team initially identified 22 banks and financial institutions and
        over 400 individual accounts potentially associated with entities under the Receivership.
25.     After developing an initial list of financial institutions and bank accounts, the Receiver conducted
        research to identify the appropriate point of contact at each financial institution to communicate the
        Receiver's appointment and control over the relevant bank accounts. The Receiver sent letters and




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       copies of the Receivership Order to each bank requesting immediate changes to the beneficial
       ownership, signatory authorities, and access to identified ArciTerra accounts held at their institution.
26.    While most banks were able to immediately freeze the relevant accounts, changing the signatory and
       obtaining access to the accounts took significantly more time.

               b.      Initial Cash Balances

27.    Of the initial population of banks and accounts identified through the procedures discussed above, the
       Receiver determined that ArciTerra primarily used accounts at five banks (89 accounts in total) as of
       the end of 2023 to operate many of the businesses and commercial properties.

               c.      Operating Businesses

28.    Village Brewhouse, a restaurant and bar, and Simply Sweet, a retail candy store, have separate
       management overseeing each business's day-to-day operations. Each business leases its premises from
       a third party. The Receiver provides each business with operational and financial oversight, including
       cash management. Village Brewhouse and Simply Sweet's bank accounts are designated solely for use
       by the respective entity’s operations. As of December 21, 2023, the designated operating account
       balances of Village Brewhouse and Simply Sweet were approximately $55,300 and $58,600,
       respectively.

               d.      Commercial Properties

29.    Glenrosa 32, LLC (“Glenrosa”) is an assisted living facility managed by a third-party operator,
       MorningStar Senior Living (“MorningStar”). Under its operating agreement, MorningStar is responsible
       for, among other activities, Glenrosa’s cash management function. Under the operating agreement, the
       Receiver does not have the ability to access the operating funds of Glenrosa as they are restricted to
       the operation of the Glenrosa facility. As of December 21, 2023, the Glenrosa operating account
       balance was approximately $556,500.
30.    The REIT 3650 properties are subject to a cash management agreement in connection with their lender
       agreement. Tenants send rent payments to a lockbox account controlled by the lender. Funds in the
       lockbox are regularly transferred into a cash management account, also controlled by the lender. While
       the Receiver does not receive the rent payments directly, it is still required to operate and manage the
       properties, including the payment of all operating expenses. To make payments to vendors of the REIT
       3650 properties, the Receiver must submit to the lender an expense distribution request that identifies
       vendor invoices requiring payment. Once the lender provides the requested funds to the Receiver, the
       Receiver makes the vendor payments and provides confirmation of payment to the lender. As a result




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       of this cash management process, the Receiver does not have excess funds available to the
       Receivership. As of December 21, 2023, the restricted cash balance for the REIT 3650 operating and
       lender’s cash management accounts was approximately $186,400.
31.    The Rialto properties were subject to a cash management agreement like REIT 3650 until February
       2024, when the Receiver was able to negotiate with the lender of the Rialto REIT to allow the Receiver
       to receive the rent payments directly from the properties’ tenants. The funds received from tenant rent
       payments, however, are still restricted for use. Specifically, the Receiver must use the funds collected
       to pay operating expenses of the properties and loan interest and escrow charges to the lender. As the
       terms of the payment of interest and escrow charges are not finalized with the lender, the Receiver
       restricted the use of operating funds to the payment of operating expenses. As of December 21, 2023,
       the restricted cash balance for the Rialto REIT operating and lender’s cash management accounts was
       approximately $120,500.
32.    The KS State Bank portfolio consists of five properties, three of which are vacant. The remaining two
       are single-tenant properties. These tenants remit their rent directly to the lender, KS State Bank, and
       are responsible for paying all their respective operating expenses. As a result, there is no cash flow or
       cash balances for the Receivership Estate associated with these properties.
33.    The remaining commercial properties include, Mercado Walk, Palencia Plaza, Bass Pro Shop, Walcent
       Elk, and 900 West Marion. The aggregate cash balance of these single properties as of December 21,
       2023 was $66,200. As a result of the low balances in the cash accounts of the unrestricted and/or
       undesignated properties at the time of his appointment, the Receiver was not able to pay critical
       expenses (e.g., utilities, fire, and safety expenses) until the Receiver implemented an active cash
       management process, performed extensive outreach to tenants, and collected outstanding and current
       rent payments.
34.    Upon notification of his appointment to the banks, the Receiver worked with each bank to change the
       signatories on the accounts to the Receiver and his designee, and obtain access to the accounts to
       manage deposits, withdrawals, and cash transfers. Given the complexity of the Receivership, the banks’
       documentation requirements, and the number of accounts, obtaining access to the bank accounts took
       considerable time and effort. The banks took varying amounts of time to review the Receivership Order
       and to consult with their counsel to determine the course of action for the Receiver to access the
       accounts. While some bank requirements could be met remotely through email and e-signatures, other
       banks required documents to be notarized and/or completed in-person at a bank branch. This
       significant transition time complicated the Receiver’s cash management processes, especially since




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         most accounts had very small available cash balances. In this respect, it was a challenge for the
         Receiver to proverbially “keep the lights on” at the property locations.

           ii.   ArciTerra’s Accounting Function

  35.    A critical initial task of the Receiver was to assess the accounting functions (e.g., accounting systems,
         financial books and records, and internal control and operating processes) supporting the operations of
         30 commercial property entities6 and 2 operating businesses. Upon appointment, the Receiver
         discovered that ArciTerra had no full-time employees remaining. Management of the ArciTerra entities
         and assets was left to two remote consultants, one non-employee part-time bookkeeper, and one non-
         employee part-time office staff person. The Receiver quickly discovered that ArciTerra’s accounting
         operations and underlying books, records, and processes were disorganized or, in certain areas, non-
         existent and required immediate oversight.

                 a.   Commercial Property Accounting Function

  36.    At a high level, the accounting for the operations of the commercial properties consists of two processes:
         the billing and collection of rents from tenants (i.e., cash inflows), and the payment of services and
         goods to support the day-to-day operations of the properties (i.e., cash outflows). The Receivership Team
         visited the former “management” offices of ArciTerra in Punta Gorda, Florida in January 2024.
         Procedures performed during the visit included a preliminary examination of the accounting records and
         corporate documents stored at the location, and discussions with the part-time office manager who
         previously performed bookkeeping for the ArciTerra companies. Based on these procedures, it became
         clear that prior to the Receiver’s appointment, no appropriate accounting function was in place and little
         attention was given to managing the commercial properties, specifically the collection of rents and
         payment of vendor invoices and other obligations.
  37.    ArciTerra historically used two systems to support the accounting for the commercial properties: MRI
         and AvidXchange.
  38.    MRI is a web-based accounting and property management system that ArciTerra used since at least
         2012. In addition to general ledger (i.e., accounting) functions, MRI has a commercial property
         management module for managing leasing-related activities, including issuing tenant rent invoices,
         tracking rent rolls, and administering lease agreements.



6 Below we report 39 commercial properties in the Receivership. Nine commercial properties are excluded here:

Glenrosa, for which MorningStar manages its business processes, five KS State Bank properties do not generate
cash flow to the Receiver, and three Punta Gorda properties that are vacant and non-revenue producing.




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39.    AvidXchange is a web-based accounts payable workflow processing system used to receive, process,
       and approve third-party invoices. The system contains a PDF copy of an invoice and once approved for
       payment, interacts with MRI to transfer the invoices from AvidXchange to MRI for payment processing
       and recording in the financial records of the applicable entity.
40.    Prior to the Receiver’s appointment, however, these systems were not fully utilized. For approximately
       the first nine months of 2023, management of the commercial properties, including the accounting
       function, was contracted to Trigild, a third-party commercial property management company. Trigild
       discontinued its work for ArciTerra in October 2023, alleging that ArciTerra had failed to pay for services
       performed. As a result, ArciTerra did not perform property management, accounting, and finance
       activities between October 2023 and the Receiver’s appointment, including payment of operating
       expenses and resolution of property and tenant requirements. Upon his appointment, the Receiver
       discovered that ArciTerra did not maintain an effective repository to track tenant rent payments. Aside
       from reviewing and reconciling available bank account transaction history, the Receiver could not readily
       determine when, to what account, and with what frequency tenants had remitted rents prior to the
       commencement of the Receivership. Almost no accounting activities occurred during the last three
       months of 2023 and the standard accounting records and financial reports that would have provided
       management, or the Receiver, with a basic understanding of uncollected rent payments and open
       invoices did not exist. During visits to the Punta Gorda office, the Receivership Team discovered dozens
       of unopened envelopes containing vendor invoices dating back to at least June 2023, which were never
       logged or paid. This, paired with incomplete and inaccurate records, complicated the Receiver’s efforts
       to perform a comprehensive, overall reconciliation of past due or unpaid rent and vendor invoices for
       all ArciTerra properties.

                b.   Operating Businesses Accounting Function

41.    The three operating businesses—Glenrosa, Village Brewhouse, and Simply Sweet—do not use MRI for
       their accounting and financial reporting.
42.    The third-party management for the Glenrosa senior living facility, MorningStar, performs the accounting
       processes and maintains the underlying records.
43.    Village Brewhouse and Simply Sweet used a web-based accounting system, Restaurant365, until
       approximately January 2024 and transitioned to a specialized restaurant point-of-sale system (e.g.,
       Toast) that integrates with QuickBooks. The individual management teams at Village Brewhouse and
       Simply Sweet are primarily responsible for maintaining the respective businesses' accounting and
       financial records. Since the Receiver’s appointment, the Receivership Team has had access to these
       systems and monitors the operating performance and transactions recorded as part of its daily




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           management process. In addition to approving the businesses’ weekly payroll, the Receivership’s Chief
           Financial Officer manages the bank accounts, approves non-operating expenses, and oversees and
           discusses operations and financial performance with each management team on a weekly basis.
    44.    After assessing the state of the accounting systems and financial books and records, as well as
           identifying the operating bank accounts for the individual entities, the Receiver established processes
           and procedures for cash management, vendor management, and property management.
    45.    The Receiver categorized the Receivership Assets into groups (“Asset Groups”) for management and
           operating purposes. For instance, the Receiver grouped Receivership Assets that are members of the
           same real estate investment trust (“REIT”) into a single Asset Group. The Asset Groups, and the revenue
           producing Receivership Assets that comprise each group, are as follows:

                                               Commercial Property Entities
             REIT 3650                                    RIALTO                                  KS State Bank Portfolio
• AT Altus Cumberland GA II, LLC       • 1921 Gallatin Pike Nashville TN, LLC               • ArciTerra FD Bowman SC, LLC
• AT Auburn Plaza IN II, LLC           • 2513 E North Street Kendallville IN, LLC           • ArciTerra FD Greeleyville SC, LLC
• AT Eastman GA II, LLC                • 412 Cross Oaks Mall Plainwell MI, LLC              • ArciTerra VN Clarksville TN, LLC
• AT HL Burlington IA II, LLC          • 5339 Elvis Presley Blvd Memphis TN, LLC            • ArciTerra VN Dickson TN, LLC
• AT Longview TX II, LLC               • 5450 US Highway 80 East Pearl MS, LLC              • ArciTerra WG Milwaukee WI, LLC
• AT Mayodan NC II, LLC                • 60 Col. Promenade Pkwy Alabaster AL, LLC
• AT New Lenox IL-Inline II, LLC       • 601 Trenton Road McAllen TX, LLC
• AT PT Danville IL II, LLC            • 700 North Grand Ave. Mt Pleasant IA, LLC
• AT Seven Hills Aurora CO II          • 752 S. Andy Griffith Pkwy Mt Airy NC, LLC
• AT Sweden NY II, LLC                 • 81 Jameson Lane Greenville AL, LLC
• AT Ville Platte LA II, LLC           • 8001 Vaughn Road Montgomery AL, LLC
• ATA Lanier Fayetteville GA II, LLC   • ATA Hiram Square GA, LLC
          Bass Pro Shop                             Mercado/Palencia                                    StanCorp
• ArciTerra BP Olathe KS, LLC          • ATA Mercado St. Augustine FL, LLC                  • Walcent Elk/IN, LLC
                                       • ATA Palencia St. Augustine FL, LLC                 • 900 West Marion FL, LLC
                                               Operating Business Entities
       Village Brewhouse                              Simply Sweet                                      Glenrosa
• VBH PG, LLC                          • Fudge Is US PG, LLC                                • Glenrosa 32 LLC


            iii.   Cash Management

    46.    The Receiver’s cash management activities are tailored to each Asset Group. Because certain Asset
           Groups are subject to lender cash management agreements, the receipt and disbursement of cash is
           based on agreements entered between the lenders and the Receiver. Below is a summary of the various
           cash management strategies implemented by the Receiver:




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    a.   REIT 3650. Under a debt cash management agreement with the lenders of the REIT, the
         tenants remit rent payments to a lockbox account at PNC Bank controlled by the servicer of the
         REIT 3650 debt. As such, the Receiver does not receive funds from rent payments. As the
         Receiver is responsible for managing the vendor payables for this Asset Group, the Receiver
         must submit disbursement requests to the lender detailing the invoices requiring payment. The
         lender reviews and approves disbursement requests and remits funds to the Receiver to cover
         the disbursement requests. After receiving the funds from the lender, the Receiver pays the
         vendor invoices and records these transactions in the appropriate entity’s general ledger. For
         each invoice payment, the Receiver provides the invoice and other supporting documentation
         (e.g., payment confirmations) to the lender. As a result of this arrangement, there is no excess
         cash flow to the Receiver from the operations of these commercial properties.
    b.   Rialto REIT. The Rialto REIT had a debt cash management agreement similar to REIT 3650 until
         February 2024. In February 2024, the Receiver began directing tenants to remit rent payments
         to the bank accounts established by the Receiver for each entity. Additionally, the Receiver is
         currently negotiating a forbearance agreement with the loan servicer and lender, whereby the
         rents received would be used to pay the lender interest on the outstanding debt and amounts
         necessary to cover escrow charges, such as property taxes, of the properties. Therefore, rental
         payments received are used to pay debt interest, property taxes, ongoing operating expenses,
         and outstanding accounts payable to the extent cash is available. As a result, there is minimal
         excess cash flow from the Rialto REIT properties.
    c.   Non-REIT Commercial Property Entities. For the non-REIT commercial property entities, the
         tenants remit rent payments to the Receiver who uses the rent receipts to pay day-to-day
         operating and necessary capital expenses. The Receiver established cash operating accounts
         for each entity and accounts for rental receipts and operating expenses at the individual entity
         level.
    d.   Operating Business Entities. Each of the three operating business entities – Glenrosa, Village
         Brewhouse, and Simply Sweet – have their own operating bank accounts that are used for the
         collection of business receipts (e.g., revenue) and payment of operating expenses. The
         manager of Glenrosa, MorningStar, is responsible for all business processes (e.g., cash
         management, vendor management, accounting). The Receiver has access to and monitors the
         Glenrosa operating accounts and reviews monthly financial and operating reports from
         MorningStar. Village Brewhouse and Simply Sweet have individual operating bank accounts
         that the Receiver manages and monitors. Village Brewhouse and Simply Sweet pay many




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               ordinary course vendors through automatic payments from the operating accounts, which the
               Receiver monitors. The Receiver approves and disburses non-recurring expenses (e.g.,
               significant repairs and maintenance) and weekly payroll. The Receiver conducts weekly
               meetings with the general manager of each business and reviews the financial and operating
               reports on a regular basis.
47.    The Receiver established a banking relationship with Western Alliance Bank (“Western Alliance”) to
       streamline and improve the cash management process. Western Alliance has significant experience
       working with receivership, bankruptcy, and other similar matters involving fiduciaries, provides its
       banking services at no cost to the Receiver. The Receiver is currently in the process of closing the
       remaining “legacy” ArciTerra accounts and transferring the remaining funds to the Receivership’s
       Western Alliance accounts.

        iv.    Vendor Management

48.    Another critical initial task of the Receiver was to identify the vendors of the commercial properties used
       in their day-to-day operations, and the outstanding balances due to each vendor. The commercial
       properties collectively rely on approximately 150 vendors to provide necessary services, including fire
       and safety, utilities, snow removal, HVAC repairs, building repairs and maintenance, plumbing,
       landscaping, and property maintenance.
49.    In the early stages of the Receivership, the lack of available cash and the infrequent and inconsistent
       rent collections required the Receiver to triage vendor accounts payable. The Receiver gave priority to
       utilities and fire and safety-related expenses. While the Receiver's efforts to increase incoming cash
       from rent collections allowed for more timely payments to vendors, the Receiver’s ability to fund critical
       repairs and other expenses of the commercial properties, however, continued to be complicated by the
       neglect of these properties prior to the appointment of the Receiver.
50.    As discussed above, the Receiver discovered a vast amount of unopened mail and learned that many
       vendors of the commercial properties continued to send their invoices to Trigild or the former main office
       of ArciTerra. These factors, among others, created significant delays in the Receiver's receipt of vendor
       invoices, and in some cases, resulted in critical life and safety situations. For example, in one situation
       shortly after the Receiver’s appointment, a tenant of an Indiana commercial property notified the
       Receiver that the electric company planned to disconnect all electricity to the property that same
       afternoon due to several months of non-payment. The Receiver immediately contacted the utility
       provider to determine the amount owed and arrange for payment. While the Receiver was able to find
       the necessary funds to make the payment, the utility provider did not have the capability to receive wire




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       transfers or ACH payments and would not hold off disconnecting the power while waiting for a check to
       arrive overnight. The Receiver communicated with a tenant at the property and arranged to wire the
       money to the tenant’s bank account to enable the tenant to deliver the check to the electric company
       by the shut-off deadline.
51.    The Receiver improved the efficiency of identifying, reviewing, approving, and paying vendor invoices.
       The Receivership Team created an accounts payable ledger for each Asset Group to track vendor invoice
       details and payment information. The Receiver redirected vendor invoices for delivery to the Receiver.
       Where possible, vendors send invoices by email to a dedicated “Receiver Accounting” email address.
       Upon receipt via email or postal mail, the Receivership Team uploads invoices to AvidXchange, then
       reviews and records the invoice to the proper entity’s books and the proper expense account. The
       Receiver reviews and approves all invoices for payment.

         v.    Significant Corporate Activities Not Performed Prior to the Appointment of
               the Receiver

               a.   ArciTerra Failed to Make Florida State Sales Tax Filings and Payments

52.    Prior to the commencement of the Receivership, ArciTerra was responsible for filing required corporate
       reports to various state governmental agencies and making any applicable payments required with the
       filings. These reporting requirements included filing monthly state sales tax returns and remitting
       required payments. As the Receiver gained access to the unattended and unopened mail, the Receiver
       learned that ArciTerra had failed to file and pay Florida state sales tax associated with the Village
       Brewhouse business for October and November 2023. The Receiver worked with the Florida
       Department of Revenue (“FL DOR”) to file and pay the October and November 2023 sales tax returns.
       As a result of the late filing of the returns, Village Brewhouse incurred penalties and interest totaling
       approximately $22,200.
53.    The Receiver also learned that Florida sales tax returns associated with two of ArciTerra’s commercial
       properties in Florida, AT Mercado and AT Palencia, were not filed with FL DOR for much of 2023. The
       Receiver is currently working with the FL DOR to file and remit the pre-Receivership sales tax due.

               b.   Federal and State Income Tax Filings for ArciTerra Entities

54.    Many ArciTerra entities have not yet filed the required 2022 federal and state tax returns. The Receiver
       learned from discussions with ArciTerra’s prior tax accountants, CliftonLarsonAllen (“CLA”), that
       ArciTerra did not provide CLA with the necessary documentation for the 2022 return and also did not
       pay CLA’s outstanding fees, and as a result CLA did not complete or file ArciTerra’s 2022 tax returns.




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       The Receiver understands, however, that CLA prepared and sent the necessary 2022 Form K-1s to
       ArciTerra investors. See Exhibit 3 for a list of the ArciTerra entities with outstanding 2022 federal and
       state tax returns provided to the Receiver by CLA.
55.    The IRS and various state agencies will likely assess significant penalties and interest fees against the
       ArciTerra entities for the unfiled 2022 federal and state tax returns. Furthermore, the lack of accurate
       and complete 2023 books and records require the Receiver to “reconstruct” the appropriate accounting
       records to prepare and file the 2023 tax returns.
56.    The Receiver is currently discussing possible retention with CLA and two other accounting firms to
       prepare and file the necessary tax returns for 2022 and 2023.

                c.   2023 Corporate and State Business Registration Filings

57.    ArciTerra did not make certain annual corporate business registration filings and the associated
       registration fee payments in 2023. The Receiver is identifying the entities and states requiring
       registration filings for 2023 and will work with the respective state agencies to file and pay past-due
       registration fees.

        vi.     Commercial and Residential Property Operations

                a.   Commercial Property Operations

58.    The Receiver’s work continues in accordance with the duties defined in the Receivership Order. The
       Receiver is managing the Receivership Assets and stabilizing cash flows from income-generating assets,
       including streamlining the rent collection process, paying real estate taxes and property vendors,
       negotiating forbearances, and analyzing properties and assets for disposition or further action.
59.    The Receiver obtained insurance coverage for the properties for which insurance policy premiums were
       not paid and coverage had lapsed pre-Receivership.
60.    Exhibit A to the Receivership Order includes a non-exhaustive list of 300 Receivership Entities. Exhibit
       C to the Receivership Order contains a list of entities excluded based on the previous appointment of a
       different receiver, pre-existing sales, dispositions, and/or litigation. The Receiver understands these
       properties were "lost" prior to the Receiver’s appointment, and that ArciTerra's previous failures to
       manage these properties led to significant neglect, necessitating the intervention of other parties to
       preserve their value and operations.
61.    The Receivership Team remains in contact with the other receivers to assist with coordination of “lost”
       assets while determining a disposition process for cross-collateralized properties in other receivers’
       control along with the Receivership’s assets for the benefit of the Receivership. The Receiver has faced




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         setbacks and delays, particularly related to the operations of properties within cross-collateralized
         portfolios subject to different receiverships.
  62.    Lender Communications. The Receiver identified and contacted lenders and lenders’ counsel
         associated with the commercial properties and negotiated certain pauses or forbearances. The Receiver
         entered into 5 forbearance agreements applicable to 33 properties which allowed the Receiver to collect
         rents, pay property maintenance and other expenses, and direct excess receipts to lenders on account
         of interim “adequate protection.”7 These limited forbearances, and other informal “pauses” or “status
         quo” relationships with lenders on other properties, allow the Receiver to work to enhance tenant
         performance, conduct basic property maintenance, and create a more cooperative environment where
         the Receiver can work together with lenders to stabilize properties for the benefit of creditors and
         investors. To optimize communications with lenders, the Receiver developed an internal 150-day “Asset
         Plans” for commercial Receivership Assets that document the Receiver’s tentative plan to stabilize and
         potentially dispose of the Receivership Assets.
  63.    Insuring Assets. At the time of the Receiver’s appointment, it was not clear whether there was active
         insurance coverage for the Receivership Assets. Insurance documentation initially obtained by the
         Receiver included a property insurance policy declaration excerpt and a general liability insurance policy
         schedule of locations excerpt from The Chubb Corporation (“Chubb”). The property insurance policy
         included 57 addresses and the general liability insurance policy included 79 addresses, both
         commercial and residential properties. However, the Receiver discovered that ArciTerra never paid the
         Chubb insurance premiums.
  64.    During discussions with commercial property lenders, the Receiver learned that force-placed property
         insurance policies8 were bound for the 29 properties.9 Three properties did not have force-placed
         insurance policies.10 Two properties did not have active mortgages and therefore also did not have force-
         placed insurance policies.11
  65.    The Receiver bound both general liability and property insurance policies through AssuredPartners for
         the REIT 3650, Rialto, and KS State Bank Asset Groups, and the Mercado Walk, Palencia Plaza,


7 “Adequate protection” is a remedy that protects secured creditors from losses to their collateral.
8 “Force-placed insurance” is an insurance policy placed by a lender, bank or loan servicer on a property when

the property owners' own insurance is cancelled, has lapsed or is deemed insufficient, and the borrower does
not secure a replacement policy. Force-placed insurance allows the lender to protect its financial interest in the
property.
9 Includes REIT 3650 Portfolio, Rialto Portfolio, KS State Bank Portfolio, ATA Hiram Square GA LLC, and 900 W.

Marion FL LLC. Excludes properties subject to another receivership.
10 ATA Mercado St. Augustine FL LLC, ATA Palencia St. Augustine FL LLC, and Walcent Elk/IN LLC.
11 ArciTerra BP Olathe KS LLC and AT New Lenox IL-Outlots LLC.




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       Northfield Plaza, and 900 W. Marion properties. Per the Bass Pro Shops lease agreement, the landlord
       is responsible for the general liability insurance and the tenant is responsible for the property insurance
       policy. The Receiver bound general liability insurance policies for Bass Pro Shops and New Lenox
       Outparcel. All insurance premiums were funded by rents collected by the Receiver, except for the REIT
       3650 Asset Group, for which insurance premiums were funded by the insurance reserve held by the
       loan servicer and the portfolio’s cash management account funds.
66.    Asset Disposition or Further Action. Paragraph 6(N) of the Receivership Order provides that the Receiver
       shall have the power and duty to:
                    “Sell, assign, transfer or otherwise dispose of any assets of the
                    Receivership Entities either directly or through one or more Retained
                    Personnel, subject to approval by this Court with respect to any material
                    assets[.]”
67.    Disposition or sale of assets by the Receiver is further governed by 28 U.S.C. §§ 2001, 2002, and 2004
       and caselaw developed by federal courts. Section 2001 governs sales of real property and section 2004
       governs sales of personal property. In addition to these statutory provisions, federal courts have some
       discretion in approving sale procedures and sale terms that will promote equity, efficiency, and cost-
       effectiveness in the receivership’s administration.
68.    The decision to move forward with the disposition or sale of Receivership Assets is made by the Receiver,
       and if appropriate, upon consultation with the lender and lender’s counsel, and with approval by the
       Court. The Receiver has the discretion to hire brokers and has made a concerted effort to engage with
       independent brokers regarding the disposition of Receivership Assets. The sale of any material
       Receivership Asset, including the engagement of any brokers for the sale of that asset, is subject to
       Court approval.
69.    While not expressly provided for statutorily, an order approving the sale of assets by a federal receiver
       may provide for the sale of property free and clear of liens, claims, encumbrances, and interests with
       all such encumbrances attaching to the proceeds of the sale. The Receiver conducted preliminary
       property records searches but has not yet expended the funds required to execute complete title
       searches for all known ArciTerra properties and thus, is not yet aware of all outstanding encumbrances.

               b.    Residential Property Operations

70.    As with the commercial properties, described above, there was no central documentation listing all
       ArciTerra residential properties. Through additional independent research, the Receiver identified and
       took control of nine residential properties, two of which are timeshare units with 1/20th ownership stake
       in each unit. These numbers exclude one property, as to which the Receiver acknowledged no rights as
       a Receivership Entity and reserved his rights, as described below.




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 71.    See Exhibit 1 for a map of the properties’ locations and Exhibit 2 for a detailed list of all commercial and
        residential properties.

                                         Receivership Residential Properties
No.                 Owner                                           Address                                 Property Type
 1       751 W Retta Esplanade FL, LLC          751 W Retta Esplanade, Punta Gorda, FL 33950                  Residential
                                                                                                              Residential;
 2            Spike Holdings LLC           1001 West Marion Avenue, Unit 21, Punta Gorda, FL 33950
                                                                                                           Condominium Unit
 3            Spike Holdings LLC               880 West Marion Avenue, Punta Gorda, FL 33950                  Residential
 4            Spike Holdings LLC                   150 Shreve Street, Punta Gorda, FL 33950                  Vacant Land
 5             Jonathan Larmore                   11751 Black Point Road, Syracuse, IN 46567                  Residential
 6              HV Gardens LLC                8150 East Highland View Drive, Syracuse, IN, 46547              Residential
 7            Morrison Island LLC               10507 N. Grand Boulevard, Syracuse, IN, 46567                 Residential
                                                                                                         Residential; Timeshare
 8              FK Telluride LLC           567 Mountain Village Blvd, Unit 114-6 Telluride, CO, 81435
                                                                                                                  Unit
                                                                                                         Residential; Timeshare
 9              FK Telluride LLC           567 Mountain Village Blvd, Unit 115-1, Telluride, CO, 81435
                                                                                                                  Unit


 72.    Lender Communications. Initially, mortgage lenders and their respective counsel were identified and
        contacted to ascertain the outstanding mortgage balances. Of the nine residential properties, four have
        outstanding mortgage balances that have yet to be paid off. The team has engaged in discussions with
        three of these four mortgage holders, with ongoing conversations expected to provide an exact mortgage
        balance update from the remaining holder by early June 2024.
 73.    In addition to addressing mortgage balances, the Receivership Team has worked to identify all known
        taxes, encumbrances, and liens associated with the residential properties. Through property tax
        searches and consultations with county assessor offices, the team uncovered instances of unpaid taxes
        and liens on the properties.
 74.    Insuring Assets. The Receivership Team engaged AssuredPartners to place general liability insurance
        on all properties, which was bound by the Receiver effective as of May 8, 2024.
 75.    Asset Disposition or Further Action. The process for disposition or sale of residential assets mirrors that
        described above for commercial assets, per Paragraph 6(N) of the Receivership Order. The decision to
        move forward with the disposition or sale of Receivership Assets is made by the Receiver, and if
        appropriate, upon consultation with the lender and lender’s counsel, and with approval by the Court.
        The Receiver has the discretion to hire brokers and has made a concerted effort to engage with
        independent brokers regarding the disposition of Receivership Assets. The sale of any material
        Receivership Asset, including the engagement of any broker for the sale of that asset, is subject to Court
        approval.




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76.    Other Properties of Note. JMMAL Mariposa LLC, an entity that is not defined as a Receivership entity,
       owns 5324 E. Mariposa Street ("Mariposa") in Phoenix, Arizona. The residence, spanning approximately
       5,990 square feet, comprises five bedrooms and five bathrooms. City National Bank holds the current
       mortgage on the property. Upon appointment, the Receiver found that the Mariposa property was listed
       for sale on several real estate websites. The Receiver analyzed the rights of the Receivership Estate in
       this property. As a result, and given that the property is not a Receivership entity, the Receiver took no
       position on the offer and reserved rights.
77.    Northeast Wawasee LLC, a Receivership entity, owns 11234-11227 Northeast Wawasee in Syracuse,
       Indiana, situated on 1.36 acres of land. The residence has 4,810 square feet with seven bedrooms and
       four bathrooms. The property does not have an active mortgage. Upon the request of Michelle Larmore
       to allow the sale of this property, the Receiver analyzed the rights of the Receivership Estate, did not
       object to the sale, and reserved his rights. See Stipulation and Order ECF Nos. 156 and 159.

        vii.     Property Management

                    a.   Commercial Property Management

78.    The Receiver initially found that ArciTerra’s general operations were disorganized and required
       immediate oversight, particularly commercial property management. Trigild previously performed the
       accounting and property management functions for approximately 30 commercial properties for the first
       nine months of 2023. In October 2023, prior to the Receiver’s appointment, Trigild discontinued its
       work for ArciTerra, it said, because of ArciTerra’s failure to pay Trigild its services. As a result, ArciTerra
       did not have basic property management, accounting, nor finance functions between October 2023 and
       the Receiver’s appointment, including no process for the payment of operating expenses and the
       resolution of property and tenant requirements.
79.    The Receivership Entities are lessors under real estate leases with approximately 169 active
       commercial and retail tenants. Upon appointment, it was challenging for the Receiver to identify and
       locate critical records needed to effectively manage the properties because property and tenant
       information was disorganized, incomplete, and/or missing. The Receiver could not readily determine
       when, to what account, and with what frequency tenants remitted rents prior to the Receivership. These
       factors complicated the Receiver’s efforts to identify all current tenants and the associated active
       leases.
80.    Notably, ArciTerra and Trigild did not perform or provide the required year-end Common Area
       Maintenance (“CAM”) reconciliations to tenants for several years. CAM reconciliation is a crucial process
       required by leases to address the estimation and assessment of shared expenses between landlord




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         and tenants. Despite efforts to achieve accuracy, the unpredictable nature of CAM costs often leads to
         disparities between the actual expenses incurred and the tenants’ payments. The primary purpose of
         year-end CAM reconciliation is to evaluate the accuracy of the estimated escrow charges paid by tenants
         throughout the lease term. By not providing year-end CAM reconciliations to the tenants throughout the
         entire portfolio, ArciTerra was not in compliance with lease agreements and limited the tenants’ ability
         to verify that they were paying their appropriate share of the CAM costs.
  81.    The Receiver installed professional third-party property management at 28 of 39 commercial properties.
         The Receiver entered into a property management agreement with SVN Elevate (“SVN”) effective as of
         March 1, 2024, for the Rialto and KS State Bank Asset Groups. The Receiver initially engaged SVN as
         the project management firm at the recommendation of the Rialto lending team, which was discussed
         over several meetings. The Receiver entered into a property management agreement with Cushman &
         Wakefield (“Cushman”) for the REIT 3650 Asset Group effective as of April 12, 2024. The Receiver is
         managing property management functions for the remaining 11 of 39 commercial properties.12 See
         Exhibit 2 for the detailed list of properties which, for commercial properties, includes their respective
         property managers.13
  82.    SVN, Cushman, and the Receiver's inspections and monthly evaluations have aided in confirming all
         current tenants, identifying any vacant units, obtaining copies of active leases, and communicating
         important information such as updated rent remittance instructions. Further, dedicated property
         managers conducting recurring in-person visits to properties has improved communication between the
         Receiver and tenants, led to increased trust in the Receiver's operations, and strengthened the
         relationship between the parties. As a result, the Receiver is now collecting rents on a consistent basis.
  83.    The long-term neglect affecting Receivership Assets proved initially challenging for effective property
         management. This was compounded by a lack of access to property operational expense funds, missing
         contact information of property vendors, hesitancy of vendors to work with the Receiver due to
         ArciTerra’s poor payment history, and a backlog of concerns and requests from tenants. The Receiver,
         SVN, and Cushman have since addressed several significant tenant complaints related to longstanding,
         unresolved required repairs and neglected maintenance issues through a comprehensive inspection
         and maintenance program.




12 With the exception of Glenrosa 32, LLC, which is managed by MorningStar.
13 The KS State Bank Asset Group properties in Milwaukee, WI and Greeleyville, SC are vacant. The scope of

property management services at these locations was reduced to periodic site visits and reporting to reduce fees
for the Receivership Estate.




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 84.    A history of comprehensive inspection and ongoing monthly evaluations by dedicated property
        managers are crucial for maintaining the integrity and value of the properties and addressing
        maintenance issues promptly. Outsourcing of recurring services to specialized vendors for tasks such
        as landscaping, porter services, and life and fire safety system monitoring ensures that each property
        receives the required attention. Identification of urgent capital expenditures, particularly roofing and
        heating, ventilation, and air conditioning (“HVAC”) repairs, is a proactive measure to safeguard the
        portfolio's value. Further, critical refurbishments, such as repairs to roofs and parking lots, illustrate the
        Receivership’s commitment to enhancing the portfolio's aesthetics, functionality, and value.
 85.    ArciTerra did not provide CAM reconciliations for at least the past two years. Under the authority of the
        Receiver, the property managers, SVN and Cushman, and the Receivership Team will provide detailed
        year-end CAM reconciliations to each tenant on an ongoing basis.

            b.   Residential Property Management

 86.    The Receiver has not engaged any third-party providers for property management or property
        maintenance services for residential properties under the Receivership. The Receivership Team visited
        the properties in Punta Gorda, Florida to conduct high-level assessments of the physical status of the
        properties. The Receivership Team has not yet visited any residential properties in other locations but
        is not aware of any property conditions requiring attention.

E. Record Preservation and Review
 87.    The Receiver collected and preserved records associated with ArciTerra, related entities, operations,
        and associated personnel. The Receivership Team collected, preserved, imaged, and is in the process
        of reviewing, documents from various sources, including:
            a.   17 electronic devices.
            b.   ArciTerra’s Microsoft 365 email, OneDrive, and SharePoint data.
            c.   Physical documents from several locations including ArciTerra offices and other properties in
                 Punta Gorda, Florida; an airplane hangar storage facility in Scottsdale, Arizona, which held
                 approximately 150 boxes of materials; and an Iron Mountain facility in Phoenix, Arizona that
                 stored over 400 boxes of documents.
 88.    The current population of documents collected from the various sources noted above results in over 4.8
        million documents.
 89.    The Receivership Team also took steps to have incoming physical mail for 56 properties forwarded to
        the Receiver’s central office location.




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  90.    The Receivership Team provided read-only access to or electronic copies of ArciTerra’s SharePoint file
         system, MRI accounting system, and AvidXchange accounts payable system through December 21,
         2023 to the SEC, Jonathan Larmore and his professionals and Michelle Larmore and her professionals.
         Accordingly, the SEC, Jonathan Larmore and Michelle Larmore had the same information available to
         the Receiver and each other through December 21, 2023. In addition, Jonathan Larmore’s ArciTerra
         email account was provided to him and his professionals and Michelle Larmore’s ArciTerra email
         account was provided to her and her professionals.

            i.   Devices, Microsoft 365 Email Accounts, OneDrive and SharePoint

  91.    The Receivership Team collected a total of 17 devices from various ArciTerra offices and other ArciTerra
         owned properties during numerous site visits to Punta Gorda. The Receivership Team forensically
         imaged the devices and uploaded the imaged data to a document review platform for the Receivership
         Team’s review.
  92.    The Receiver gained access to and downloaded the ArciTerra Outlook mailboxes (i.e., email, calendar,
         contacts, and notes) and OneDrive storage sites for ArciTerra employees from the Microsoft
         environment. The Receivership Team preserved these mailboxes and OneDrive sites and added all
         documents to the document review platform.
  93.    ArciTerra’s SharePoint is a Microsoft cloud storage repository of ArciTerra documents (i.e., where
         ArciTerra former employees saved ArciTerra-related documents). The Receiver preserved the SharePoint
         repository and added all documents to the document review platform. Recently, without notice to the
         Receiver, SharePoint access was terminated by Microsoft but because the Receivership Team had
         initially created a forensic e-discovery export of the site, all data remains preserved and available, and
         no data was lost.
  94.    The Receiver also received an electronic document production from the SEC. The Receivership Team
         added these documents to the document review platform.

           ii.   Physical Documents

  95.    The Receivership Team located approximately 150 boxes of documents in the hangar for Mr. Larmore’s
         former private airplane in Scottsdale. The Team inventoried the boxes, reviewed, indexed the box
         contents, and shipped boxes relevant to the Receiver’s work to an e-discovery vendor. As a result, more
         than 39,000 documents were imaged and added to the document review platform.14



14 Two boxes contained binders with black mold which could not be imaged.




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  96.    The Receivership Team visited an Iron Mountain facility in Phoenix to inventory more than 400 boxes of
         ArciTerra documents. Prior to the Receiver’s appointment, ArciTerra failed to pay over one year’s worth
         of invoices to Iron Mountain (dating as far back as December 2022), which delayed the Receivership
         Team until May 2024 when the Receiver satisfied the outstanding debt to Iron Mountain. During the
         May 2024 visit, the Receivership Team replicated the review process described above and will have
         relevant documents imaged and added to the review platform in due course.
  97.    The Receivership Team conducted site visits to ArciTerra offices and properties in Punta Gorda over the
         course of the initial weeks and months of the Receiver’s appointment during which it retrieved a smaller
         population of physical documents. These documents were imaged and added to the document review
         platform.

          iii.   Document Review Process

  98.    The Receivership Team uploaded to the review platform the documents collected and imaged during
         the various site visits and collection efforts.15 To narrow the population of documents to be reviewed to
         a more relevant subset, the review platform electronically identified and excluded duplicates from the
         review queue. In addition, the Receivership Team developed specific search terms to apply to the
         remaining population to identify documents more relevant to the ongoing work of the Receivership Team
         to review and analyze.
  99.    The Receiver also received a document production from the SEC. These documents were added to the
         review platform and their review is complete.
  100. The remainder of the document review is ongoing, and the Receivership Team is using findings from key
         documents discovered via the document review to support and enhance the Receiver’s understanding
         of the state of ArciTerra at the time of the Receiver’s appointment, and to assist the Receiver in running
         the ArciTerra businesses.

F. Investor Funds Analyses
  101. Section II.2. of the Receivership Order places responsibility on the Receiver to, among other things,
         ascertain the financial condition of the Receivership Entities and Receivership Assets, and to propose
         for the Court a fair and equitable distribution of the remaining Receivership Assets. To meet this
         mandate, the Receiver’s work includes gaining an understanding of the structures, identifying investors,


15 Before the Receivership Team began its review of documents received from any of the sources mentioned

above, the Receiver queried the mailboxes to identify and isolate possible privileged communications of Mr.
Larmore. The Receivership Team electronically filtered out and isolated potentially privileged documents from
the rest of the document review population. These isolated documents have not been reviewed.




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      lenders, and other creditors, evaluating fees, and assessing the overall flow of funds to third parties and
      between Receivership Entities and investment vehicles with third-party investors. In addition, these
      analyses may allow the Receiver to identify other potential sources of recovery for investors and
      creditors.
102. The Receivership Assets include 11 private investment vehicles through which capital was raised from
      third-party investors (referred to throughout this Report as “Investor Funds”), generally through brokers,
      including:

              ArciTerra National REIT, Inc.                           ASR Centerville & Colony GA, LLC
              ArciTerra Note Fund II, LLC                             ASR Plainfield Village IN, LLC
              ArciTerra Note Fund III, LLC                            ASR Trinity Place TN, LLC
              ArciTerra REIT, Inc.                                    ASR Wheatland IL, LLC
              ASI Belleville Crossing IL, LLC                         Whitefish Opportunity Fund, LLC
              ASR Briargate & Linden IL, LLC

103. ArciTerra solicited funding for each of these Investor Funds through Private Offering Memorandums
      (“POMs”) which provided prospective investors and brokers with the terms, disclosures, and other
      details regarding the investments. A summary of the dates of formation, the total amount raised, and
      the number of investors identified for these 11 Investor Funds is attached as Exhibit 4.
104. In addition to the analysis of the POMs, the Receivership Team reviewed and is reviewing
      contemporaneous documents, such as the operating agreements of investment structures; subscription
      agreements (i.e., investor purchase agreements); contemporaneous investor updates and
      communications; loan and forbearance agreements (when applicable); intercompany loan trackers;
      bank statements; general ledgers of investment and affiliated entities; and other financial records.
105. For each of these Investor Funds, the Receiver set out to understand and analyze:
          a.   The ownership structure and hypothetical waterfall calculations provided for in the POMs.
          b.   The specific investment strategy and/or planned acquisitions.
          c.   The calculation and payment of fees to managers and other parties.
          d.   The timing and amount of funds raised.
          e.   How ArciTerra deployed and invested investor money.
          f.   Potential distributions, interest or dividends paid or owed.
          g.   Outstanding loans and/or other debt.
          h.   Outstanding loans payable and/or receivable.
          i.   Current investor capital balances and amount due to investors.




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            j.   Identification of guarantees provided and source of guarantees.
  106. As of the date of this First Status Report, the Receiver performed a preliminary analysis of five of the
        Investor Funds: ArciTerra Note Fund II, LLC (“Note Fund II”), ArciTerra Note Fund III, LLC (“Note Fund
        III”), ArciTerra National REIT, Inc (“National REIT”), ASR Wheatland IL, LLC (“ASR Wheatland”), and ASR
        Centerville & Colony GA, LLC (“ASR Centerville & Colony”). Aspects of the Receiver’s analysis are still in
        process. The Receiver continues to investigate the flow of investor money to and from the Investor Funds
        to assess what was received from and is owed to investors in the respective investment vehicles of the
        Receivership Entities and creditors.

           i.    Intercompany Loans and Commingling of Investor Funds

  107. As a preliminary observation, the ArciTerra entities’ accounting was maintained on a cash basis, which
        was consistent with the accounting method described in many of the POMs the Receivership Team
        reviewed.16
  108. Through discussions with former ArciTerra employees and a review of contemporaneous email
        communications and deposition testimony, the Receiver observed that it was common practice at
        ArciTerra to pay expenses based on their urgency, with cash from the bank account of an entity with
        sufficient funds at the time the payment was needed, without regard to which entity incurred the debt
        or whether the cash came from an account of one of the Investor Funds. The Receivership Team
        confirmed this pattern through a review of ArciTerra financial records, bank statements, email review
        and other documents.
  109. In her deposition with the SEC on September 28, 2023, former ArciTerra Controller, Kathleen Bouet,
        testified that to the extent there was not enough money in the account of the entity owing the expense,
        “we’d have to review all of the bank accounts and see which properties had a surplus and then make
        the loan or the distribution, depending on how the ownership was, and pull the funds from those
        accounts to pay and cover…expenses.”17
  110. According to Ms. Bouet’s testimony, for each funding need, rather than directly transferring the cash
        from the account of the entity with the surplus to the account of the entity with the deficit, Ms. Bouet
        and other ArciTerra employees would generally transfer the cash from one entity-level bank account to
        that entity’s parent company’s account, and then transfer the cash to ArciTerra Strategic Retail Advisors,


16 Although cash basis of accounting or modified cash basis of accounting can be used for various purposes, it

is not considered generally accepted accounting principles (“GAAP”), but rather another comprehensive basis
of accounting.
17 Deposition of Kathleen Bouet by the Securities and Exchange Commission dated September 28, 2023, at p.

145.




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      LLC (“ASRA”). From ASRA, ArciTerra transferred the cash to the parent of the recipient entity, and then
      to the entity-level account, from where the expense was ultimately paid. ArciTerra recorded each of
      these cash transfers as intercompany loans and maintained a running balance of the amounts due
      between entities as it transferred cash back and forth between the entities, through ASRA.
111. The POMs for the Investor Funds do not contemplate or disclose that Investor Fund cash flows would
      move to, from, and through ASRA; ASRA is not part of the Investor Fund ownership or distribution
      structures. ASRA owns several non-Investor Fund real estate entities and is owned by JMMAL, MML, and
      Spike Holdings, all of which are owned and controlled by Mr. Larmore and Marcia Larmore.
112. Figure 1 below is one example of this process and illustrates how $200,000 made available from an
      entity that is part of the Note Fund II, Note Fund III, and National REIT Investor is ultimately used to pay
      the expenses of entities in other Investor Funds, as well as non-Investor Fund entities owned by Mr.
      Larmore and/or members of his family.




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113. As shown in Figure 1 above, the Senior Living Facility owned by Glenrosa and an investment in the Note
      Fund II, Note Fund III, and National REIT Investor Funds, sent Glenrosa a $200,000 ownership
      distribution on April 19, 2022. On the same day, $200,000 received by Glenrosa is transferred to ASRA.
      The following day, April 20, 2022, ASRA transfers and distributes the $200,000 through at least 11
      different entities to pay various expenses of entities that are part of separate Investor Funds, or for
      entities that are owned by Mr. Larmore and/or members of his family and not part of any Investor Fund.
114. This process was a consistent and standard practice from at least 2015 according to an analysis of
      contemporaneous ArciTerra intercompany loan tracking spreadsheets. This practice resulted in the




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        aggregation and commingling of “available” cash from dozens of ArciTerra entities into and out of
        ASRA’s bank account.
  115. The Receivership Team’s review of ArciTerra bank accounts and financial records for the years 2019 to
        2022 show the following aggregate flows commingled in and out of ASRA:18




  116. The flow of money into and out of ASRA discussed above includes ArciTerra’s “refinancing” of the
        intercompany loans at the end of each quarter, as follows:
             a.   At the end of each quarter, ArciTerra entities that owed money to ASRA would settle their debt
                  to ASRA. ArciTerra would deposit checks it drafted from these entities’ bank accounts into
                  ASRA’s bank account.
             b.   Likewise, ArciTerra would deposit checks it drafted from ASRA’s bank account into the bank
                  account of the ArciTerra entities to which ASRA owed money.
             c.   On the same day, or the next day, to recognize the interest owed on the then pending loans
                  (since the books were maintained on a cash basis the interest could not be accrued), ArciTerra
                  would reverse the payment flow and increase the loans balances by 12% interest on the
                  balance from the prior period.
             d.   Effectively, because of this process, the intercompany loan balances owed to and from ASRA
                  to ArciTerra entities would grow by the amount of the interest due as the new loan principal
                  would increase by the interest from the previous period.
  117. The ASRA trial balance shows that as of June 2023:
             a.   ASRA had outstanding intercompany loans due to or due from with over 42 ArciTerra and
                  affiliated entities and individuals.
             b.   There were 19 ArciTerra and affiliated entities and individuals with balances due to ASRA
                  totaling over $52.6 million.



18 The analysis is ongoing, including reconciliation of the intercompany balances between the various entities

and tracing of transactions to bank statements. As a result of the ongoing analysis the reporting of outflows to
and inflows from ASRA may change but are not expected to vary by a significant amount.




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             c.   There were 23 ArciTerra and affiliated entities and individuals with balances due from ASRA
                  totaling over $108 million, including approximately $35 million to Glenrosa and ATG REIT RSC,
                  which are entities within the Note Fund II, Note Fund III, and National REIT Investor Pools.
             d.   The net impact of these intercompany loans and commingling of funds is a total of
                  approximately $55.4 million due from ASRA to other entities.
  118. Consequently, ArciTerra mixed money from operating entities owned by certain investors in Investor
        Funds with money from ArciTerra entities or affiliates unrelated to the Investor Funds. The Receiver’s
        efforts to determine the amounts owed and available to distribute to investors are complicated by
        ArciTerra’s cash commingling. This practice has caused the Receiver to have to unwind a vast number
        of transactions to determine to which entities and/or Investor Funds and creditors the cash and/or
        assets belong.
  119. The Receiver has not yet identified any documented policy that would explain how the decisions were
        made to prioritize satisfying debts of certain entities or vendors, or other third parties, over making
        distribution to certain investors.19
  120. Although the Receiver found that ArciTerra generally recorded the intercompany loans in the books of
        each respective lender and borrower, it is not clear at this stage of the Receiver’s work whether, when
        ArciTerra created the loans, the lending entity received equivalent value from the borrowing entity, or
        that the transactions were conducted at arm’s length. It is also unclear whether such loans had
        economic substance. For instance, although ArciTerra recorded the loan balances, it is not clear that
        when ArciTerra made a loan, it gave consideration as to whether the borrowing entity had the ability to
        repay without receiving funds from other ArciTerra companies.
  121. This analysis, combined with the determination of income and profit distribution or liquidation
        “waterfalls” from the various investment structures, will allow the Receiver to propose a distribution
        plan in due course, which is likely to have to take into consideration the impact of the commingling of
        funds. The commingling of so many entities’ funds will likely affect the determination of how the
        Receivership Estate will seek to satisfy future claims, though the Receiver is not yet in a position to
        approach a proposal to address creditors or investors.




19 According to Ms. Bouet’s deposition testimony, early in the existence of the Investor Funds, ArciTerra

documented the intercompany loans but abandoned the practice around 2015 (See, Deposition of Kathleen
Bouet by the Securities and Exchange Commission dated September 28, 2023, at pages 134-135).




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          ii.    Preliminary Observations from the Investor Funds Analyses
                 a.   Payments to Investors

  122. Our analysis began with the review of Note Fund II and Note Fund III as these Investor Funds raised the
        most from third-party investors compared to other Investor Funds. The Receiver’s review of Note Fund
        II and Note Fund III documentation indicates that investors received interest payments in connection
        with their investments up until approximately March 2020. The Receiver’s analysis to date establishes
        that from fund inception to March 2020, investors in Note Fund II and Note Fund III received interest
        payments of approximately $12.6 million and $13.6 million, respectively. The Receiver reviewed
        investment update letters which show that ArciTerra suspended interest payments in April 2020, and
        by April 2022, ArciTerra informed investors in Note Fund II and Note Fund III that liquidation options
        were being considered.
  123. The Note Fund II and Note Fund III investors did not receive repayment of their principal contributions.
        According to a spreadsheet attached to a September 23, 2023 email from Mr. Larmore,20 principal due
        to Note Fund II and Note Fund III investors was $20 million and $25 million, respectively (attached as
        Exhibit 5). The outstanding principal balances shown in the spreadsheet represent the total amount
        raised under Note Fund II and Note Fund III, demonstrating that as of September 2023, investors in
        these Investor Funds did not receive any return of their invested principal. The spreadsheet also
        indicates that Note Fund II and Note Fund III investors are due accrued interest of at least $24.9 million
        and $31.2 million, respectively.
  124. The POMs for Note Fund II and Fund III contain a specific structure for how cash flows from investment
        properties rental income would flow up from the investment entities through ArciTerra Note Fund II
        Investment Company, LLC (“Note Fund II Investment Co.”) and ArciTerra Note Fund III Investment
        Company, LLC (“Note Fund III Investment Co.”), which respectively served as the “feeder” entities
        between the investment entities and Note Fund II and Note Fund III. Interest was to flow from Note Fund
        II Investment Co. and Note Fund III Investment Co. up to Note Fund II and Note Fund III, respectively,
        and then out to investors (through the Funds’ third-party administrator). See Exhibit 6 for the flow charts
        from the POMs of Note Fund II and Note Fund III.
  125. Through the commingling process described above, interest paid to Note Fund II and Note Fund III
        investors was paid with cash from and intended for, entities outside the Note Fund II and Note Fund III
        distribution and ownership structure.


20 The Receiver has verified the calculations within the spreadsheet of outstanding investor principal and

interest due.




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126. Figure 2 below shows how loan proceeds received through a refinancing of one entity were used to
     make interest payments to Note Fund III investors. In this example, ATA Fishville Retail, LLC (“ATA
     Fishville Retail”) received $2,304,761 in cash on March 23, 2018 from the refinancing of the loan for
     Fishermen’s Village in Punta Gorda, Florida. On the same day, ATA Fishville Retail transferred
     $2,304,000 to ASRA, through ArciTerra KLS Warsaw IN, LLC (“KLS Warsaw”). Also on the same day,
     ASRA sent $86,000 of the $2,304,000 to ArciTerra Note Advisors III, Inc (“Note Fund III Advisor”), and
     to Note Fund III through Note Fund III Investment Co. Note Fund III wired $85,439 to TMI Trust Company,
     the administrator, to make the interest payments to investors.




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  127. Although according to the POMs of Note Fund II and Note Fund III money was not supposed to flow
        through ArciTerra Note Advisors II, LLC (“Note Fund II Advisor”) or Note Fund III Advisor, they did, as
        reflected in Figure 2 above.
  128. As discussed above, interest payments to Note Fund II and Note Fund III investors ceased after March
        2020. The Receiver observed that money continued to flow from ASRA to Note Fund II Advisor and Note
        Fund III Advisor after March 2020, but ArciTerra did not use this money to make investor interest
        payments.21 In 2021, ASRA sent Note Fund II Advisor and Note Fund III Advisor a net $41,000 and
        $72,000, respectively, and in 2022, ASRA received from Note Fund II Advisor and Note Fund III Advisor
        a net of approximately $1.2 million and $70,000, respectively; no interest payments were made to Note
        Fund II or Note Fund III investors in 2021 or 2022.
  129. Figure 3 below depicts, in summary, the flow of money through ASRA to Note Fund II Advisor and Note
        Fund III Advisor throughout 2022, and the amount of interest payments to Note Fund II and Note Fund
        III investors in 2022.




21 The source of this observation is bank statements.




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130. The Receiver observed that instead of income from ATG REIT RSC and Glenrosa flowing to Note Fund II
      Investment Co. and Note Fund III Investment Co., as provided for in the POMs, the money flowed through
      ASRA and was not used to make payments to investors.
131. The Receiver also observed instances where money that may have been available for investor interest
      payments was instead used to pay the ArciTerra American Express (“AMEX”) account which was used




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      for both business expenses and by Jonathan and Michelle Larmore and their children for their personal
      expenses, like the example shown in Figure 4 below.




132. Figure 4 above shows how on January 4, 2023, ATG REIT RSC transferred $160,000 to ASRA which was
      then ultimately used to contribute to the payment of ArciTerra’s December 9, 2022 AMEX statement, as
      well as a $15,000 transfer to Mr. Larmore’s personal bank account. Investors in ATG REIT RSC did not
      receive any interest payments in 2023.
133. The $206,386 payment to AMEX represents the full balance due on the 12/9/2022 ArciTerra
      Companies AMEX statement. The charges on the 12/9/2022 statement do not include charges related
      to ATG REIT RSC. The statement does include over $108,000 in charges to cards held by Mr. Larmore
      and members of his family, and another $53,000 in charges for an account called “CSL Larmore.”
134. The Receiver’s work to determine the total amount paid to and due to investors in each of the Investor
      Funds continues. The Receiver is also working to understand to what extent ArciTerra’s intercompany
      loan and cash commingling practices (discussed above) impacted ArciTerra’s ability to pay investor
      interest payments or dividends.




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               b.    ArciTerra Reduced Note Interest Rates

135. Note Fund II and Note Fund III paid investors interest payments at rates of 8.25% (and subsequently
      8.75%) and 9.25%, respectively, until May 2010. After May 2010, ArciTerra reduced the interest rates
      for both Note Fund II and Note Fund III to 4%. The decision to decrease interest rate payments triggered
      an event of default, which under the POMs caused the interest on the notes for Note Fund II and Note
      Fund III to accrue at the rate of 12%. ArciTerra updated investors regarding the status of the Note Fund
      II and Note Fund III investments from at least 2011 to 2022 through periodic “Investment Update
      Letters.” A February 2017 Investment Update Letter to Note Fund II and Note Fund III investors, states:
               “The Company anticipates that monthly payments to Noteholders will continue at the current
               4% per annum level.”

               c.    Fees Charged to the Investor Funds

136. As part of the Investor Fund analysis, the Receiver is in process of identifying the basis for calculation
      of the various fees contemplated in the POMs to the manager entities and other parties, or other
      contemporaneous evidence of the calculation of such fees. When the Receiver cannot locate evidence
      or information supporting the fee payments, the Receiver is working on reconstructing or reverse-
      engineering the basis for the fee calculation and/or fee payment.
137. Each of the POMs analyzed to date includes provisions for the payment of certain manager fees. The
      POMs reviewed provides for the payment of the following fees:

                         Fee incurred for the purchase of a property calculated as a percentage of the
  Acquisition Fees
                         purchase price.
                         Fee related to debt financing or debt arrangement based on a percentage of the
  Financing Fee          aggregate principal amount of indebtedness secured for a property on behalf of the
                         Company.
                         Payment made to a third party by a borrower or lender to guarantee the repayment
  Guarantee Fee          of a debt in case of default that is calculated as a percentage of the debt payable
                         or as a fixed annual amount.
  Property               Fee for the administration, technical and commercial management of a property
  Management Fee         based on a percentage of property revenue.
  Asset Management       Annual fee for managing the affairs of the investment(s) as a percentage of the
  Fee                    property's asset value.
  Lease Coordination     Fee in connection with executing a lease calculated as a specific price per square
  / Commission Fee       foot.




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       Tenant                Fee for the oversight and/or direct costs of improvement work based on a
       Improvement /         percentage of the value of the improvement or as a dollar value per square foot.
       Construction
       Management Fee
       Special Disposition   Fee related to the sale of an asset calculated as a percentage of the gross sale
       Distribution Fee      price of the properties.
       Subordinated          Once stockholders receive dividends in an aggregate amount equal to their
       Participation in      investment or based on specific terms, the Advisors are entitled to a percentage of
       Distribution Fee      any distribution made by the Operating Partnership thereafter.

  138. The Receiver is performing an analysis to review the general ledgers to assess and calculate what the
          entities have paid in management fees since their inception and how this compares to the allowable
          manager fees per the POMs. The Receiver’s analysis is still ongoing.


III.      Financial Status
  139. Below is a report of the cash balances of the Receivership Assets; the receipts, disbursements, and
          balance of the Receivership Estate’s Fund; and administrative expenses of the Receivership.

A. Cash on Hand – Receivership Assets

  140. Below is a summary of the cash balances for the Receivership Assets as of April 30, 2024.

                                                       Restricted          Dedicated              Other
             Operating Businesses
                  Village Brewhouse                                        $1,111,400
                  Simply Sweet                                                $211,500
             Commercial Properties
                  Glenrosa                               $422,000
                  REIT 3650                              $823,000
                  Rialto                                 $174,100
                  KS State Bank Portfolio22                                                                $0
                  Single Properties                                                                $298,300




22 As discussed above, there are no cash flows associated with these properties as any rent payments are sent

to the lender directly by the tenant and the tenants are responsible for paying all operating costs.




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 141. See Exhibit 7 for a summary of net change in cash balances by Asset Group for the period December
       21, 2023, through April 30, 2024.

B. Schedule of Receiver Estate Fund Receipts and Disbursements
 142. The cash balance of the Receivership Fund as of April 30, 2024 was $36,408. The following is a
       schedule of the Receivership Fund’s Receipts and Disbursements from the commencement of the
       Receivership through April 30, 2024:

                                    Receivership F und Receipts & Disbursem ents
                                     Decem ber 2 1 , 2 0 2 3 through April 3 0 , 2 0 2 4

  Beginning Balance, Decem ber 2 1 , 2 0 2 3                                                                          $ 0 .0 0

 Receipts
       REIT 3650 carve-out for Receivership Fees & Expenses                                  $50,000.00
       Cash from closed bank accounts of inactive entities                                     $979.39
       Vendor credit for overpayment of prior invoice of inactive entity                      $3,531.51
       Sale of small airplane related assets                                                  $2,500.00
       Advance from Village Brewhouse to fund payments to J. Larmore & M.
       Larmore per Court Order dated April 18, 2024 (ECF No. 133)                          $280,000.00
 Total Receipts                                                                                               $337,010.90

 Disbursements
       Document/record storage and movement costs                                           ($20,602.74)
       Disbursements to J. Larmore & M. Larmore per Court Order dated
       April 18, 2024 (ECF No. 133)                                                        ($280,000.00)
 Total Disbursements                                                                                          ($300,602.74)

  Ending Balance, April 3 0 , 2 0 2 4 (unencum bered funds)                                                   $ 3 6 ,4 0 8 .1 6


C. Amount and Nature of Accrued Administrative Expenses

 143. On May 15, 2024, the Receiver filed the First Application of Receiver for Allowance and Payment of
       Professional Fees and Reimbursement of Expenses for the Period December 21, 2023 through March
       31, 2024 [ECF No. 165]. We refer to such application for the requests therein.


IV.Receivership Entities
 144. Of primary concern to the Receiver at the outset of the Receivership was understanding the universe of
       corporate entities that comprised the Receivership Entities. To ensure completeness, the Receivership
       Team conducted research and analysis, beginning with the SEC’s non-exhaustive list of 300




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       Receivership Entities (Exhibits A and B to ECF No. 77) to understand the nature and ownership structure
       of the Receivership Entities.
 145. The Receivership Team continues to research and identify previously unknown ArciTerra corporate
       entities through public records and other research.


V. Receivership Assets
A. Commercial & Residential Entities

          i.    Commercial Properties

 146. Below is detail on the properties for which the Court has: (1) approved the engagement of Marcus &
       Millichap Real Estate Investment Services as broker for the sale of the property; (2) approved the auction
       and bidding procedures for the sale of the property; and (3) granted related relief:

                a.   Palencia Plaza & Mercado Walk, St. Augustine, FL

                        ArciTerra Entity                              Address
                                                             7440 US Highway 1 North,
               ATA Palencia St. Augustine FL, LLC             St. Augustine, FL 32095
                                                      155, 159, 163, 167 Palencia Village Drive,
               ATA Mercado St. Augustine FL, LLC
                                                              St. Augustine, FL 32095
 147. Overview. ATA Palencia St. Augustine FL, LLC and ATA Mercado St. Augustine FL, LLC are Receivership
       entities that own Palencia Plaza (“Palencia”) and Mercado Walk (“Mercado”), respectively. Palencia and
       Mercado are multi-tenant commercial properties in St. Augustine, Florida. Palencia consists of one
       building with approximately 12,800 square feet of retail space. Mercado consists of two main buildings
       and an outlot with a total of 22,695 square feet of retail, restaurant, and medical space.
 148. Lender Communications. At the onset of the Receivership, ArciTerra was past due on multiple debt
       service payments. The Receiver engaged with the lender, Assurity Life Insurance Company (“Assurity”),
       to discuss forbearance. Consistent communication regarding the sale of the assets with the lender by
       the Receivership Team allowed the Receiver to act with an informal forbearance agreement to pause
       debt service payments until the assets are sold.
 149. Property Management. The Receivership Team is serving as property manager for both Palencia and
       Mercado. On March 5, 2024, the Receivership Team performed a site visit of Palencia and Mercado to
       engage with tenants, assess the physical property condition (interior and exterior), and identify any
       property maintenance issues. The Receivership Team observed that the sites are in fair condition.




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150. Asset Disposition. On April 26, 2024, the Receiver filed its Motion for Sale of Palencia and Mercado
      [ECF No. 147] seeking approval of the retention of Marcus & Millichap and the proposed procedures for
      the sale of the properties through a public online auction process. The Court approved the bidding
      procedures and scheduled an auction [ECF No. 172]. At the auction, the Receiver will select the highest
      and best offer for the properties and enter into an asset purchase agreement, which will provide for the
      sale of the properties on an “as is, where is” basis, with no representations or warranties from the
      Receiver or the Receivership Entities and will be solely contingent on approval of the Motion for Sale
      Motion of Palencia and Mercado and the Receiver’s ability to deliver insurable title. The Receiver and
      Marcus & Millichap established a minimal reserve price for the properties which the Receiver believes
      will allow for the satisfaction of all liens asserted against the Properties, including the undisputed claims
      of Assurity, any closing costs, and return proceeds to the Receivership Estate.

               b.   Glenrosa 32, LLC, Phoenix, AZ

                       ArciTerra Entity                                Address
                                                                3200 E Glenrosa Avenue,
                      Glenrosa 32, LLC                            Phoenix, AZ 85018
151. Overview. Glenrosa is a Receivership Entity that owns and operates “MorningStar at Arcadia,” an
      assisted living and memory care facility operated and managed by MorningStar Senior Living
      (“MorningStar”), an operator of senior living facilities, in Phoenix, Arizona.
152. Lender Communications. At the time of the Receiver’s appointment, Glenrosa was party to a
      forbearance agreement with Arizona Bank & Trust (“AB&T”), the holder of approximately $22 million in
      notes purportedly secured by the Glenrosa property and that matured on July 31, 2023. Prior to the
      maturity date, Glenrosa engaged Marcus & Millichap to market and solicit offers for the sale of the
      property. Five bidders submitted letters of intent, but these bids did not result in a binding offer or sale.
153. Upon appointment, the Receiver engaged with AB&T and negotiated and executed a further forbearance
      agreement with AB&T that matures on June 15, 2024. During negotiations with AB&T, the Receiver
      remains in frequent communications with MorningStar, making certain that the facility and its
      operations are stabilized and capable of complying with AB&T’s debt service requirements.
154. Property Management. MorningStar independently operates and provides property management
      services for Glenrosa. The Receiver interacted with MorningStar leadership but does not have access to
      MorningStar’s bank accounts, cash balances, or other operational activities.
155. Asset Disposition. On April 19, 2024, the Receiver filed its Motion for Sale of Glenrosa [ECF No. 134],
      seeking approval of the retention of Marcus & Millichap and the proposed procedures for the sale of the
      properties through a public online auction process. The Court approved the bidding procedures and




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         scheduled an auction [ECF No. 171]. At the auction, the Receiver will select the highest and best offer
         for the properties and enter into an asset purchase agreement, which will provide for the sale of the
         properties on an “as is, where is” basis, with no representations or warranties from the Receiver or the
         Receivership Entities. The sale hearing is currently scheduled for July 10, 2024.
  156. Below are the properties the Receiver is in the process of stabilizing and determining for appropriate
         disposition or further action:

                  c.   REIT 3650 Asset Group, Nation-wide

                               ArciTerra Entity                                Address
                         AT Auburn Plaza IN II, LLC                  506 North Grandstaff Drive,
                      AT Auburn Plaza Member, LLC                        Auburn, IN 46706
                    ATA Lanier Fayetteville GA II, LLC                 320 W. Lanier Avenue,
                     ATA Lanier Fayetteville Member                    Fayetteville, GA 30214
                         AT HL Burlington IA II, LLC                    3351 Agency Street,
                      AT HL Burlington Member, LLC                      Burlington, IA 52601
                           AT Ville Platte LA II, LLC                  915 E. LaSalle Street,
                        AT Ville Platte Member, LLC                    Ville Platte, LA 70586
                     AT Altus Cumberland GA II, LLC                   2997 Cumberland Circle,
                   AT ALTUS Cumberland Member, LLC                       Atlanta, GA 30339
                            AT Sweden NY II, LLC                     1651 Nathaniel Poole Trail,
                          AT Sweden Member, LLC                         Brockport, NY 14420
                            AT Eastman GA II, LLC                         970 Indian Drive,
                         AT Eastman Member, LLC                         Eastman, GA 31023
                       AT New Lenox IL-Inline II, LLC                 2021 East Laraway Road,
                      AT New Lenox-IL Member, LLC                       New Lenox, IL 60451
                            AT Longview TX II, LLC                        711 Estes Drive,
                         AT Longview Member, LLC                        Longview, TX 75602
                     AT Seven Hills Aurora CO II, LLC                18511 E. Hampden Avenue,
                   AT Seven Hills Aurora Member, LLC                     Aurora, CO 80013
                           AT Mayodan NC II, LLC                       131 Commerce Drive,
                         AT Mayodan Member, LLC                         Mayodan, NC 27027
                           AT PT Danville IL II, LLC                   22 West Newell Road,
                       AT PT Danville Member, LLC                        Danville, IL 31082
  157. Overview. The REIT 3650 Asset Group contains 12 total cross-collateralized properties across 9 states
         totaling over 500,000 square feet of commercial space. Two properties excluded from the SEC
         Receivership are also part of the REIT 3650 Asset Group.23




23 Two properties were lost to a different receivership, Circle City, in Indiana, prior to the appointment of the

Receiver.




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158. Lender Communications. The cross-collateralized REIT 3650 Asset Group is secured with two loans, a
      primary loan through REIT 3650 Loan Servicing, and a mezzanine loan through Quadrant Capital. The
      Receiver communicated with both lenders and held recurring conversations with REIT 3650 Loan
      Servicing regarding the outstanding loan balance, rent payments and collections, property conditions,
      and budgets. The Receiver executed a forbearance agreement with REIT 3650 Loan Servicing on March
      20, 2024.
159. Property Management. The Receiver engaged Cushman as property manager on April 12, 2024,
      marking a significant step towards revitalizing the REIT 3650 Asset Group, which ArciTerra neglected for
      years. Cushman inspected all properties in this Asset Group at the onset of the property management
      service contract and the properties’ respective property managers continue to visit the properties
      regularly. Cushman continues to source vendors to provide the reoccurring services required to stabilize
      the properties and to reverse the past years of deferred maintenance incurred. Cushman and the
      property managers helped to rectify serious issues affecting the use of sections of the properties by
      tenants and customers as of May 31, 2024. Cushman is currently identifying and will notify the Receiver
      of further capital expenditures that will be required in the near term.
160. Asset Disposition or Further Action. The Receiver requested a Broker’s Opinion of Value (“BOV”) for each
      property to determine the total anticipated value of the Asset Group and once complete, the Receiver
      will determine the next steps for disposition.

              d.     Rialto Asset Group, Nation-wide

                             ArciTerra Entity                                   Address
                                                                     5339 Elvis Presley Boulevard,
           5339 Elvis Presley Boulevard Memphis TN, LLC                  Memphis, TN, 38116
                                                                       700 North Grand Avenue,
            700 North Grand Avenue Mt. Pleasant IA, LLC
                                                                        Mt. Pleasant, IA 52641
                                                                          8001 Vaughn Road,
              8001 Vaughn Road Montgomery AL, LLC
                                                                        Montgomery, AL 36116
                                                                          601 Trenton Road,
                   601 Trenton Road McAllen TX, LLC
                                                                          McAllen, TX 78504
                                                                    60 Colonial Promenade Parkway,
         60 Colonial Promenade Parkway Alabaster AL, LLC
                                                                         Alabaster, AL 35007
                                                                           81 Jameson Lane,
                   81 Jameson Lane Greenville AL, LLC
                                                                         Greenville, AL 36037
                                                                     752 S. Andy Griffith Parkway,
          752 South Andy Griffith Parkway Mt. Airy NC, LLC
                                                                          Mt. Airy, NC 27030
                                                                       1921 Gallatin Pike North,
                   1921 Gallatin Pike Nashville TN, LLC
                                                                          Madison, TN 37115




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                               ArciTerra Entity                                   Address
                                                                         5450 US Highway 80 East,
                 5450 US Highway 80 East Pearl MS, LLC
                                                                             Pearl, MS 39208
                                                                           412 Cross Oaks Mall,
                   412 Cross Oaks Mall Plainwell MI, LLC
                                                                            Plainwell, MI 49080
                                                                         2513-2521 E North Street,
                 2513 E. North Street Kendallville IN, LLC
                                                                           Kendallville, IN 46755
  161. Overview. The Rialto Asset Group contains 12 total cross-collateralized properties across 8 states
         totaling nearly 200,000 square feet of commercial space. One property is excluded from the SEC
         Receivership but is also part of the Rialto Asset Group.24
  162. Lender Communications. The Receiver is in regular contact with the lender, Rialto, to discuss the
         outstanding loan balance, rent payments and collections, property conditions, and budgets. Rialto
         notified the Receiver that ArciTerra last made a debt service payment in November 2023. On May 16,
         2024, Rialto requested property and financial information from the Receivership Team. In response, on
         May 22, 2024, the Receivership Team provided Rialto with the 2024 budgets and is currently compiling
         the necessary documentation for further analysis as requested.
  163. Property Management. The Receiver engaged SVN as property manager on March 1, 2024. SVN’s
         immediate priority was to reverse years of neglect through a comprehensive inspection and
         maintenance program. SVN inspected all properties in this Asset Group at the onset of the property
         management service contract, and the properties’ respective property managers continue to regularly
         visit the properties. SVN outsourced recurring services to specialized vendors for tasks such as
         landscaping, porter services, and life and fire safety system monitoring to ensure that each property
         receives the required attention. SVN identified urgent capital expenditures, particularly roofing and
         HVAC repairs, as a proactive measure to safeguard the Asset Group’s value. Further, all properties within
         the Rialto REIT Asset Group will require parking lot asphalt slurry coating and restriping within the next
         6 to 12 months, as the current parking lot asphalt surfaces are in poor condition.
  164. Asset Disposition or Further Action. The Receiver requested a Broker’s Opinion of Value (“BOV”) for each
         property to determine the total anticipated value of the portfolio and once complete, the Receiver will
         determine the next steps for disposition.




24 One property was lost to a different receivership, Circle City, in Indiana, prior to the appointment of the

Receiver.




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                 e.     ATA Hiram Square GA, LLC, Hiram, GA

                            ArciTerra Entity                               Address
                                                                5157 Jimmy Lee Smith Parkway,
                       ATA Hiram Square GA, LLC                        Hiram, GA 30141
  165. Overview. ATA Hiram Square GA, LLC (“Hiram Square”) is a Receivership Entity that owns and operates
        a multi-tenant commercial property in Hiram, Georgia offering 27,930 square feet of retail space.
        Although Hiram Square is a Rialto asset, it is not cross-collateralized with other Rialto properties under
        Receivership.
  166. Lender Communications. Upon appointment, the lender notified the Receiver that ArciTerra last made
        a debt service payment in June or July 2023. The Receiver is in regular contact with the lender, Rialto,
        to discuss the outstanding loan balance, rent payments and collections, property conditions, and
        budgets. The Receiver and the lender have not executed a formal forbearance agreement.
  167. Property Management. The Receiver engaged SVN as the property manager for Hiram Square on March
        1, 2024. The shopping center is in fair condition and will only require maintenance and general clean-
        up to mitigate the past years of neglect by previous ownership.
  168. Asset Disposition or Further Action. The Receiver engaged a broker to dispose of the property. the
        Receiver will determine the next steps for disposition.

                 f.     KS State Bank Asset Group, Nation-wide

                            ArciTerra Entity                                 Address
                                                                     10000 US Highway 521,
                ArciTerra FD Greeleyville SC, LLC                     Greeleyville, SC 29056
                                                                        2135 Lowes Drive,
                 ArciTerra VN Clarksville TN, LLC
                                                                      Clarksville, TN 37040
                                                                        100 Lowes Road,
                      ArciTerra VN Dickson TN, LLC
                                                                       Dickson, TN 37055
                                                                     8488 Brown Deer Road,
                 ArciTerra WG Milwaukee WI, LLC
                                                                      Milwaukee, WI 53223
  169. Overview. The KS State Bank Asset Group contains five25 total cross-collateralized properties across
        three states totaling over 42,000 square feet of commercial space.
  170. Lender Communication. Upon appointment, the lender, KS State Bank f/k/a Kansas State Bank of
        Manhattan (“KS State Bank”), notified the Receiver that ArciTerra last made a debt service payment in



25 The fifth, ArciTerra FD Bowman SC, LLC, is a Receivership Entity that previously owned and operated a single-

tenant commercial property offering 8,011 square feet of retail space in Bowman, South Carolina. The property
is currently vacant and was lost to a tax sale prior to the Receiver’s appointment.




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      May 2023. The Receiver worked with KS State Bank to negotiate a forbearance agreement. The
      Receiver presented the forbearance terms to KS State Bank on April 30, 2024, which proposed a six-
      month forbearance period, initially consisting of three months and an option to extend an additional
      three months. Negotiation attempts toward a forbearance agreement continue. KS State Bank collects
      the rents paid by tenants at occupied properties to fund operating expenses, insurance, taxes, and
      property management fees.
171. Property Management. The Receiver engaged SVN as the property manager for the KS State Bank Asset
      Group on March 1, 2024. The Milwaukee property has been vacant for approximately 20 years and the
      property was thoroughly vandalized with all reusable plumbing and wiring stolen from the building. The
      property also received violations from the city in several instances for illegal dumping, which the
      Receiver remedied. Additionally, there is significant mold growth and damage to the interior of the
      building. The Greeleyville property also experienced vandalism in several areas, and there is evidence
      of break-ins through the detached metal siding of the property. The Dickson and Clarksville properties
      appear to be in fair condition.
172. Asset Disposition or Further Action. The Receiver requested BOVs to determine the total anticipated
      value of the four properties in the scope of the Receivership and once completed, the Receiver will
      determine the next steps for disposition.

              g.   Walcent Elk/IN, LLC, Elkhart, IN

                       ArciTerra Entity                                Address
                                                                 2719 Emerson Drive,
                    Walcent Elk/IN, LLC                           Elkhart, IN 46514
173. Overview. Walcent Elk/IN, LLC (“Walcent”) is a Receivership Entity that owns and operates Northfield
      Plaza, a multi-tenant commercial property offering 18,550 square feet of retail space in Elkhart, Indiana.
174. Lender Communications. Upon appointment, StanCorp Mortgage Investors, LLC (“StanCorp”) advised
      the Receiver that the last debt service payment was withdrawn from the payment reserve in January
      2024. As the payment reserve was subsequently exhausted, the Receiver engaged with StanCorp to
      negotiate a forbearance agreement, which the parties executed on March 29, 2024.
175. Property Management. The Receivership Team serves as property manager for Walcent. On May 1,
      2024, the Receiver performed a site visit of the Northfield Plaza property to engage with tenants and
      answer any questions, assess the physical property condition, and identify any property maintenance
      issues. The Receivership Team observed that the site is in fair condition; landscape maintenance
      services have been hired to service this property, all utilities have been placed under the Receivership
      control and porter service has been attending to the property.




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176. Asset Disposition or Further Action. The Receiver engaged a broker to dispose of the property. The
      Receiver will determine the next steps for disposition.

               h.     900 West Marion FL LLC, Punta Gorda, FL

                          ArciTerra Entity                                Address
                                                                   900 W. Marion Avenue,
                     900 West Marion FL, LLC                          Punta Gorda, FL
177. Overview. 900 West Marion FL, LLC (“900 W. Marion”) is a Receivership Entity that owns and operates
      a multi-tenant commercial property offering 20,316 square feet of office/museum space in Punta
      Gorda, Florida. The Military Heritage Museum is the property’s sole tenant.
178. Lender Communications. Upon appointment, StanCorp notified the Receiver that ArciTerra last made a
      debt service payment in December 2023. The Receiver engaged with the lender, StanCorp, to negotiate
      a forbearance agreement, which the parties executed on March 29, 2024.
179. Property Management. The Receivership Team serves as property manager for 900 W. Marion. On
      March 6, 2024 and May 17, 2024, the Receivership Team performed site visits of the property to
      engage with the tenant and answer any questions, assess the physical property condition (interior and
      exterior), and identify any property maintenance issues. Key maintenance issues discussed during the
      site visits included non-functional elevators, hurricane damage to a portion of the roof, broken windows,
      and a damaged second-floor railing which is resulting in challenges with the tenant’s insurance. The
      Receiver took steps to mitigate the elevator issues and is obtaining price estimates for other necessary
      repairs. There is also a furnished shipping container in the courtyard of the property. The building permit
      expired, and the Punta Gorda Code Compliance Office issued a violation for the shipping container on
      the premises.
180. Asset Disposition or Further Action. The Receiver engaged a broker to dispose of the property. The
      Receiver will determine the next steps for disposition.

               i.     ArciTerra BP Olathe KS, LLC, Olathe, KS

                          ArciTerra Entity                               Address
                                                                12051 S Renner Boulevard,
                    ArciTerra BP Olathe KS, LLC                     Olathe, KS 66061
181. Overview. Bass Pro Shops (“Bass Pro”) is the sole tenant at a stand-alone, single-tenant property located
      in Olathe, Kansas.
182. Lender Communications. The mortgage executed between ArciTerra BP Olathe KS, LLC and Thrivent
      Financial for Lutherans was satisfied in full prior to the Receiver’s appointment. The Receiver does not
      know the date that ArciTerra satisfied the loan. According to the Lease Agreement with the Bass Pro




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      tenant, the owner is responsible for the real estate taxes and the general liability insurance, while the
      tenant is responsible for the property insurance.
183. Upon appointment, the Receiver determined that, despite receiving rent, ArciTerra did not pay the 2018,
      2019, 2020, 2021, 2022, and 2023 property taxes, resulting in approximately $2.3 million in unpaid
      property taxes. The Receiver and Counsel are in discussions with Siegel Jennings, the firm previously
      retained by ArciTerra for tax appeal services. Siegel Jennings successfully reduced the assessed tax
      amounts for the years 2018 through 2022. An appeal is currently pending for the tax year 2023 and
      the hearing for the 2023 appeal is scheduled for March 10, 2025.
184. Property Management. The Receivership Team serves as property manager for Bass Pro. The Receiver
      has not yet visited the property but spoke with the Bass Pro Shops’ Director of Facilities for this location.
      The condition of the parking lot and the non-functioning parking lot lighting were the main issues
      affecting this property when the Receiver was appointed. The pothole issues have been mitigated at this
      property and the parking lot lighting has since been rectified as well. The major capital expenditure that
      will be required at this site is the overlay and restriping of the parking lot in the near term.
185. Asset Disposition or Further Action. Per the lease agreement executed with Bass Pro on November 9,
      2005, and subsequent amendments, Bass Pro can purchase the property at the conclusion of the 20-
      year lease on February 20, 2027, for a sum of $10. Considering there is approximately $2,300,000 in
      unpaid taxes, the Receiver is currently obtaining an appraisal to understand the property’s value. Once
      the appraisal is received, the Receiver will determine the next steps regarding the disposition of the
      property.

               j.   AT Olathe Outlot 5, LLC, Olathe, KS

                       ArciTerra Entity                                   Address
                                                                   15085 W 119th Street,
                    AT Olathe Outlot 5, LLC                          Olathe, KS 66602
186. Overview. AT Olathe Outlot 5, LLC (“AT Olathe Outlot 5”) is a Receivership Entity that owns a 9,975
      square foot single tenant retail building in Olathe, Kansas. This property previously went through a
      tenant fit out for a restaurant when the loan was originated but the prospective tenant never occupied
      the space.
187. Lender Communications. The mortgage was acquired through a private lender, LSM Blue Sky, LLC, in
      2021. Upon appointment, the Receiver was made aware that 2021, 2022 and 2023 property taxes
      were not paid and that the last debt service payment occurred in March 2023. The Receiver engaged
      with the lender and the lender’s counsel via several meetings to discuss the status of the loan, property




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      status, and disposition next steps since being appointed. To date, more than $143,000 in taxes remain
      unpaid for this property.
188. Property Management. The Receivership Team serves as property manager for AT Olathe Outlot 5. The
      Receiver has not visited this property; however, the lender visited the property in November 2023. The
      site is in fair condition but because the doors were locked during the lender’s site visit, the condition of
      the property’s interior is currently unknown.
189. Asset Disposition or Further Action. Frontline Real Estate Partners, the receiver for the adjacent Olathe
      Point Shopping Center, provided a BOV for the property. The Receiver is likely to propose a motion to
      abandon or lift the Court-ordered stay.

               k.   AT New Lenox IL-Outlots, LLC, New Lenox, IL

                       ArciTerra Entity                                Address
                                                                  E. Laraway Road,
                AT New Lenox IL-Outlots, LLC                     New Lenox, IL 60451
190. Overview. AT New Lenox IL-Outlots, LLC is a Receivership Entity that owns two parcels of vacant land
      along East Laraway Road in New Lenox, Illinois. The ArciTerra Properties, LLC entity first acquired the
      property on August 9, 2013, which was then transferred via an Assignment of Purchase Agreement to
      AT New Lenox IL-Outlots, LLC, executed on September 18, 2013. These two parcels reside adjacent to
      the New Lenox property in the REIT 3650 portfolio.
191. Lender Communications. The property was acquired for $50,000 by ArciTerra Properties, LLC via an all-
      cash transaction and therefore there is no current mortgage on the property.
192. Property Management. The Receivership Team serves as property manager for this property. The
      Receiver performed a site visit of the New Lenox property in the REIT 3650 Asset Group on April 30,
      2024. The two vacant parcels are grass lots, and therefore, are being maintained by a landscaping firm
      providing grass mowing and general lawn care maintenance services.
193. Asset Disposition or Further Action. The Receiver has not yet acquired a BOV estimate. The Receiver will
      determine the next steps for disposition.

               l.   1000 West Marion PG FL LLC, Punta Gorda, FL

                    ArciTerra Entity                                  Address
              1000 WEST MARION PG FL LLC                       1000 W. Marion Avenue,
                                                               Punta Gorda, FL 33950
194. Overview. 1000 WEST MARION PG FL, LLC (“1000 W. Marion”) is a Receivership Entity that owns a
      parcel of vacant land in Punta Gorda, Florida. The parcel of vacant land was previously utilized as
      overflow parking for the Fishermen’s Village property and by Fishermen’s Village employees.




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195. Lender Communications. The mortgage was acquired through a private lender. Upon appointment, the
      Receiver was made aware that 2021, 2022, and 2023 property taxes were not paid and that the last
      debt service payment occurred in March 2023. The Receiver engaged with the lender’s counsel via
      several meetings to discuss the status of the loan, property status, and various next steps since being
      appointed. Through multiple negotiations with the lender, the Receiver and Counsel were able to
      negotiate the removal of the default interest rate and have the interest calculated at the note rate,
      increasing the equity for the Receiver. To date, more than $81,000 in taxes remain unpaid or
      outstanding for property.
196. Property Management. The Receivership Team is serving as property manager for 1000 W. Marion. On
      March 6, 2024 and May 17, 2024, the Receiver performed site visits of the property to assess the
      physical property condition. The parcel is a grass lot with four handicapped parking spaces on a paved
      section of the lot. On March 20, 2024, the City of Punta Gorda Code Compliance office posted a code
      violation for exposed soil and muddy conditions. The lot has since been closed and caution taped off,
      preventing the lot from being used as a parking lot. The Receiver is currently collecting pricing quotes
      to have the exposed soil resodded or covered with mulch, both of which are acceptable solutions per
      the code violation posting at the property. Additionally, the City of Punta Gorda contacted a Fishermen’s
      Village employee advising that the temporary parking permit had expired via an email dated March 11,
      2024. The Receiver is working to identify application requirements and associated fees to re-apply for
      the temporary parking permit.
197. Asset Disposition or Further Action. The Receiver has determined that the property likely will have to be
      transferred back to the lender via a private transaction, which requires three independent appraisals.

               m. 925 W. Marion/960 W. Olympia FL, LCC, Punta Gorda, FL

                         ArciTerra Entity                                 Address
                                                                   925 W. Marion Avenue,
             925 W. Marion/960 W. Olympia FL, LLC                  Punta Gorda, FL 33950
                                                                   960 W. Olympia Avenue,
             925 W. Marion/960 W. Olympia FL, LLC
                                                                   Punta Gorda, FL 33950
198. Overview. 925 W. Marion/960 W. Olympia FL, LLC is a Receivership Entity that owns a residential house
      and an adjacent parcel of vacant land in Punta Gorda, Florida. The house resides at 925 W. Marion
      Avenue, Punta Gorda and the vacant parcel of land resides at 960 W. Olympia, Punta Gorda.
199. Lender Communications. The mortgage was acquired through a private lender and the two parcels are
      cross-collateralized. Upon appointment, the Receiver was made aware that 2022 and 2023 property
      taxes were not paid and that the last debt service payment occurred in November 2023. The Receiver




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        engaged with the lender’s counsel via several meetings to discuss the status of the loan, property status,
        and various next steps since being appointed. To date, approximately $44,000 in taxes remain unpaid
        or outstanding for the combined 925 W Marion and 960 W Olympia parcels.
  200. Property Management. The Receivership Team is serving as property manager for the two properties.
        On March 6, 2024, and May 17, 2024, the Receiver performed a site visit to assess the physical property
        condition (interior and exterior) and identify any property maintenance issues. The house is gutted and
        demolished on the interior and appears to have suffered severe damage due to prior hurricanes or
        storms. There is a stop work order from the City of Punta Gorda on the front door. At the request of the
        lender, the house's doors and windows were boarded on May 17, 2024, which was observed by the
        Receiver. An additional silt fence was placed surrounding the enclosed pool area in the back of the
        house after the Receiver had performed the May 17, 2024 site visit. The pool is green and filled with
        plant growth, which is a code violation per the Punta Gorda Code Compliance office. The Receiver is
        working to determine the next steps regarding the pool to rectify code violations.
  201. Asset Disposition or Further Action. The Receiver has engaged a broker to dispose of the property. The
        Receiver will determine the next steps for disposition.

          ii.    Residential Properties26

  202. Below are the properties the Receiver is in the process of stabilizing and determining the appropriate
        disposition or further action:

                 a.   751 W Retta Esplanade FL, LLC, Punta Gorda, FL

                             Owner                                        Address
                                                                   751 W Retta Esplanade,
                 751 W Retta Esplanade FL, LLC
                                                                   Punta Gorda, FL 33950
  203. Overview. 751 W Retta Esplanade FL, LLC, a Receivership Entity, owns this residential property. The
        residential home is 4,280 square feet, consisting of five bedrooms and three baths. The home was built
        in 1993 and sits on 0.45 acres.
  204. Lender Communications. Upon contacting the mortgage lender, Regions Bank, the Receivership Team
        was informed that a foreclosure action had been initiated on January 24, 2024. The Receivership Team
        promptly coordinated with the Counsel to issue a stay order, halting the foreclosure process. On
        February 26, 2024, the team met with Regions Bank to discuss the property’s financials and future


26 The Receiver has received requests from Marcia Larmore and Michelle Larmore to relinquish rights to asset

freeze properties, or Receivership properties. As the Receiver considers options as below, he analyzes these
requests.




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      steps. The property has a mortgage balance, with interest accruing monthly. All property taxes have
      been paid to date.
205. Property Maintenance. On March 6th, 2024 and May 17th, 2024, the Receivership Team performed
      site visits to inspect the property. Prior to the site visits, the team was aware that squatters were living
      in the residence. Due to the presence of squatters, the Receivership Team did not attempt to enter the
      home and therefore examined the residence's exterior from the sidewalk. Through sidewalk inspection,
      it was noted that the house had endured significant damage to the exterior, including siding falling off
      the house, cracked windows, and a deteriorating roof.
206. Asset Disposition or Further Action. The Bank expressed their desire to sell the home and pay the loan.
      The Receivership Team engaged with the Bank so that action would be taken in the coming months to
      protect the property and proceed with a mutually agreed-upon disposition strategy. Additionally, the
      Bank raised concerns about property damages and disclosed that they had restricted escrow funds,
      which could not be disbursed due to the lack of proof of an insurance claim. The Receiver team is
      actively engaging with a broker to evaluate the sale of the property.

              b.   1001 West Marion Avenue, Unit 21, Punta Gorda, FL 33950

                           Owner                                          Address
                                                           1001 West Marion Avenue, Unit 21, Punta
                     Spike Holdings LLC
                                                                     Gorda, FL 33950
207. Overview. Spike Holdings LLC, a Receivership entity, owns the 1001 West Marion Avenue, Unit 21
      condominium. This single-family residence is 998 square feet with two bedrooms and two baths. The
      condominium is situated across the street from Fishermen’s Village.
208. Lender Communications. There is no active mortgage balance on the unit.
209. Property Maintenance. On March 6th, 2024 and May 17th, 2024, the Receivership Team performed
      site visits to inspect the property. Prior to the visit, the team was informed that the unit had recently
      been rented out through a vacation rental website, VRBO. The temporary resident had vacated the unit
      a few weeks before the Receivership Team’s first inspection. Upon arrival, the team observed that the
      unit was in excellent condition, fully furnished, with new kitchen appliances. Additionally, the
      landscaping in front of the unit was well-maintained.
210. Asset Disposition or Further Action. The Receiver team is engaging a broker to evaluate the sale of the
      property.




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              c.   880 West Marion Avenue & 150 Shreve Street, Punta Gorda FL 33950

                     Owner                                             Address
                Spike Holdings LLC             880 West Marion Avenue, Punta Gorda, FL 33950
                Spike Holdings LLC                 150 Shreve Street, Punta Gorda, FL 33950
211. Overview. Spike Holdings LLC, a Receivership entity, owns both the 880 West Marion Avenue (“880
      West Marion”) and 150 Shreve Street (“150 Shreve”) properties. 880 West Marion is a residential home
      spanning 1,041 square feet with two bedrooms and two baths. The property sits on 0.31 acres of land.
      150 Shreve is a vacant plot of land, situated adjacent to 880 West Marion.
212. Lender Communications. Upon appointment, the Receivership Team made various efforts to contact
      the loan servicer, Specialized Loan Servicing LLC (“SLS”). On June 3, 2024, SLS shared the current
      remaining loan balance with the Receivership Team. The mortgage on the 150 Shreve property was
      acquired through John L Bevis Trustee of the John L. Bevis 401k Profit Sharing Plan and Trust. Upon
      appointment, the Receivership Team was made aware that over $11,000 of 2021, 2022, and 2023
      property taxes had gone unpaid on the 150 Shreve property. The 880 West Marion property taxes have
      been paid to date.
213. Property Maintenance. On March 6th, 2024 and May 17th, 2024, the Receivership team conducted
      site visits to inspect the properties. During these visits, the team entered the 880 West Marion residence
      and found the interior to be in well-kept condition with no indications of occupancy. However, the exterior
      showed minor signs of wear and tear that could benefit from improvements to enhance its overall
      appearance. The team observed a notice from SLS taped to the front door and a notice on the lawn from
      the City of Punta Gorda’s Code Compliance Department regarding landscaping violations. The Receiver
      addresses these violations, which have since been confirmed as closed. Additionally, the City of Punta
      Gorda’s Code Compliance Office informed the Receivership Team about a tree stump along the street
      adjacent to the residence that must be removed to prevent a violation. The Receivership’s property
      management team is currently addressing this issue. As for the 150 Shreve property, the vacant land
      appears to be in well-maintained condition. The Receivership Team confirmed with the city’s Code
      Compliance Department that there are no open violations on the land.
214. Asset Disposition or Further Action. The Receivership Team is engaging a broker to evaluate the sale of
      both properties.




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               d.    11751 Black Point Road, Syracuse, IN 46567

                            Owner                                        Address
                                                            11751 Black Point Road, Syracuse, IN
                        Jonathan Larmore
                                                                          46567
215. Overview. The Black Point Road property is located on Lake Wawasee in Syracuse, Indiana. The title for
      this property was originally held by Black Point Rd, LLC, a Receivership entity. In 2020, Jonathan
      Larmore transferred the property to himself. The property is 7,154 square feet, with seven bedrooms.
216. Lender Communications. Jonathan Larmore refinanced the property in 2020 with Wintrust Mortgage
      (“Wintrust”). The property has an active mortgage balance. On March 12, 2024, the Receivership Team
      received a notice from the State of Indiana regarding mortgage foreclosure. In response, Counsel
      promptly sent a stay of enforcement action to Wintrust. On May 15, 2024, Wintrust confirmed that the
      correspondence had been forwarded to their counsel for review and informed the Receivership Team
      that an attorney would be in contact soon.
217. Property Maintenance. The Receivership Team has not yet visited this property or been made aware of
      any property conditions requiring attention.
218. Asset Disposition or Further Action. The Receivership Team is aware that the property is currently leased
      to Leisuretown Rentals, LLC. The Receiver’s Counsel is aware, and actively working towards determining
      the next steps on assessing the validity of the lease.

               e.    8150 East Highland View Drive, Syracuse, IN 46547

                       Owner                                           Address
                    HV Gardens LLC           8150 East Highland View Drive, Syracuse, IN, 46547
219. Overview. HV Gardens, LLC, a Receivership entity, owns 8150 East Highland View Drive in Syracuse,
      Indiana (“8150 East Highland”). The residence, spanning 1,350 square feet, comprises three bedrooms
      and one and a half baths. The property is situated on a 0.3-acre lot.
220. Lender Communications. The property does not have an active mortgage. However, the Receivership
      Team was made aware that 2022 and 2023 property taxes have not been paid.
221. Property Maintenance. The Receivership Team has not yet visited this property or been made aware of
      any property conditions requiring attention.
222. Asset Disposition or Further Action. On April 11, 2024, Jonathan Larmore’s Counsel submitted a request
      to the Receiver’s Counsel for properties owned by Marcia Larmore that were purchased in the 1960s
      and 1990s that should be removed from the Receivership. The 8150 East Highland property was




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      included in this request. As the Receivership Team considers this request, it is also engaging with a
      broker to consider the sale of the property.

              f.   10507 North Grand Boulevard, Syracuse, IN 46567

                           Owner                                            Address
                                                              10507 N. Grand Boulevard, Syracuse, IN,
                     Morrison Island LLC
                                                                             46567
223. Overview. Morrison Island LLC, a Receivership entity, owns 10507 North Grand Boulevard in Syracuse,
      Indiana (“North Grand”). The residence, spanning 3,296 square feet, comprises three bedrooms and
      one and a half baths. The property is situated on 0.22 acres of land.
224. Lender Communications. The property does not have an active mortgage. However, the Receivership
      Team was made aware that 2022 and 2023 property taxes have not been paid.
225. Property Maintenance. The Receivership Team has not yet visited this property or been made aware of
      any property conditions requiring attention.
226. Asset Disposition or Further Action. On April 11, 2024, Jonathan Larmore’s Counsel submitted a request
      to the Receiver’s Counsel for “properties owned by Marcia Larmore that were purchased in the 1960s
      and 1990s that should be removed from the Receivership.” The North Grand property was included in
      this request. The Receivership team is engaging a broker to evaluate the sale of the property.

              g.   567 Mountain Village Blvd., Units 114-6 and 115-1, Telluride, CO 81435

                         Owner                                              Address
                                                              567 Mountain Village Blvd, Unit 114-6
                     FK Telluride LLC
                                                                     Telluride, CO, 81435
                                                              567 Mountain Village Blvd, Unit 115-1,
                     FK Telluride LLC
                                                                     Telluride, CO, 81435
227. Overview. FK Telluride LLC, a Receivership entity, owns Units 114-6 and 115-1 at 567 Mountain Village
      Boulevard in Telluride, Colorado. Each residential condo unit has a 5% fractional interest stake. Each
      unit spans 1,677 square feet, featuring three bedrooms and three bathrooms.
228. Lender Communications. There is no active mortgage on either timeshare unit.
229. Property Maintenance. The Receivership Team has not yet visited this property or been made aware of
      any property conditions requiring attention.
230. Asset Disposition or Further Action. The Receivership Team is engaging with a broker to evaluate the
      sale of the 5% interest in each unit.




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B. Other Assets
 231. The Receiver is currently managing the disposition of three watercrafts: one in pre-Receivership arrest
       and dry dock in the Eastern District of Virginia (“Watercraft #1”), one significantly damaged,
       notwithstanding insurance claims that did not result in repair and restoration, and in dry storage in
       Indiana (“Watercraft #2”), and one in Punta Gorda, Florida (“Watercraft #3”). The Receiver is engaging
       with the secured lenders on the first two vessels to see whether an advantageous disposition may be
       obtained despite material encumbrances, defaults, and arrears.
 232. Watercraft #1 is an 87-foot Cheoy Lee powerboat purchased by Mr. Larmore on December 9, 2022 for
       $2.15 million and is owned in the name of AT LC 87, LLC. The seller, James F. Wilson Living Revocable
       Trust, financed $1.0 million of the purchase price. Mr. Larmore caused monthly payments to be made
       to the seller up until, and including, the June 2023 payment. The seller filed suit on September 7, 2023
       in the United States District Court for the Eastern District of Virginia (Norfolk Division) seeking to
       foreclose on the mortgage. The seller and a third-party entered into an Assignment of First Preferred
       Ship’s Mortgage on September 27, 2023 that transferred the mortgage from the James F. Wilson Living
       Revocable Trust to ST Liberty LLC.
 233. The Receiver filed a motion to approve an abandonment agreement with respect to Watercraft #1 [ECF
       No. 176].
 234. Watercraft #2 is a Nautique Paragon 23 purchased by Mr. Larmore on July 17, 2020 for $264,760, with
       $200,000 financed by a loan from Lake City Bank. The loan agreement called for payments of $1,635
       per month beginning July 17, 2020. Mr. Larmore made some payments to Lake City Bank before
       payments ceased. As of May 31, 2024, Mr. Larmore owes Lake City Bank approximately $178,000 on
       the Watercraft #2 loan.
 235. Upon his appointment, the Receiver observed that Watercraft #2 was severely damaged (though the
       Receiver is not aware of when the damage occurred), and the Receiver had the boat transported to Indy
       Marine & Auto Body Inc. for a repair estimate and repair. The damage, and the fact that Watercraft #2
       was used in saltwater, a purpose for which it was not intended, reduced the value of Watercraft #2
       significantly. The Receiver is currently negotiating the disposition of Watercraft #2 with Lake City Bank.
 236. Watercraft #3 is a 28-foot Bull Dog A&M Tiki Boat purchased new by Mr. Larmore on July 31, 2023 for
       $105,120. Mr. Larmore paid for Watercraft #3 on May 3, 2023 with money from a Spike Holdings bank
       account at KS State Bank that Spike Holdings received the prior day from a Glenrosa bank account at
       KS State Bank.
 237. The Receiver is currently preparing Watercraft #3 for sale.




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 238. The Receivership Team continues to identify other assets included in the ArciTerra Estate and to
       physically locate other known assets to bring them into the Receivership Estate.


VI.Claims Against the Receivership
 239. The Receiver is developing a process to identify claims. As the Receivership progresses, the Receiver
       will implement a mechanism to validate claims, determine their eligibility and compensate eligible
       claimants subject to Court approval of the filing and distribution process.

A. Investor Claims
 240. To confirm the identity and amount of claims from investors, the Receivership Team implemented a
       three-pronged approach:
           a.   Identification and Analysis of Internal ArciTerra Information. The first step was to review investor
                files and identify key documents containing investor information. Investor information was
                identified and consolidated for each of the ten funds that are still open.
           b.   External Confirmation Through Third Parties. First, the focus was on Broker Dealers. During the
                internal review process discussed above, the Receivership Team located names lists of broker
                dealers and matched those to the consolidated investor details to have a complete list of which
                investors are associated with which broker dealers. The Receivership Team researched the
                various broker dealers to identify potential contacts or to understand the status of each broker
                dealer as some have been dissolved or merged with others since the initial fund raising took
                place many years ago. Review of ArciTerra documents allowed the Receivership Team to locate
                Trustee or Escrow agent information for each of the funds (if there was one). The Receiver
                issued letters to each of the broker dealers, is in the process of sending communication to
                trustees and escrow agents, for which contact information was found, with detailed
                attachments of the investors specific to that third-party. The detailed attachments included
                Investor Fund names, investor names, date of investments, total paid and date of last payment.
                The letters request that the details related to investors and/or funds specific to each third-party
                be confirmed or adjusted for accuracy. Responses to the letters continue to come in to the
                Receiver.
           c.   Gather Information Directly from Investors – Proof of Claims. The Receivership Team is in the
                process of developing a web-based form for investors to fill out their information including
                details such as amounts paid to date, etc. The development of this application is ongoing and




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                  will go live on the Receiver’s website when it is complete. In addition, it will allow the Receiver
                  to interface with the investors.
  241. This process will allow the Receiver to understand the scope of the investor claims and when claims are
        ready to be paid out, communicate with investor claimants, verify identity of claimants, and collect
        appropriate information.

B. Vendor Claims

  242. The Receiver is investigating and in the process of:
             a.   Identifying liabilities from the books and records of the Receivership Entities.
             b.   Developing a web-based solution (similar to the solution the Receiver is developing for
                  investors) to intake the claims related to vendors and other stakeholders; and
             c.   Evaluating potential additional liabilities, including the Small Business Administration Loans
                  discussed below.

C. Potential Liabilities to Creditors – Small Business Administration

  243. As part of the analysis into ArciTerra’s creditors, the Receiver notes that several ArciTerra Entities
        applied for and received Small Business Administration (“SBA”) loans through its Paycheck Protection
        Program (“PPP”) in 2020 and 2021. To understand whether the loans have resulted in the SBA being a
        current creditor of any of the Receivership Entities, the Receivership Team reviewed emails, PPP loan
        documents, bank statements, and conducted external research to understand the details of these
        loans.
  244. As a result, the Receivership Team identified six ArciTerra entities that received SBA loans, including
        first draw and second draw loans:27
                                                                                       Loan
                            Borrower                           Lender                                        Status
                                                                                     Principal
          1.1     ArciTerra Companies, LLC           Johnson Bank                     $ 267,670      Forgiven
          1.2     ArciTerra Companies, LLC           Arizona Bank and Trust           $ 237,511      Forgiven
          2.1     AT ML Management HI, LLC           Johnson Bank                      $ 48,200      Forgiven
          2.2     AT ML Management HI, LLC           Arizona Bank and Trust            $ 48,239      Forgiven
          3.1     ATA Fishville Management, LLC      Johnson Bank                     $ 261,600      Forgiven


27 The first draw PPP loans refer to the original loan program from the SBA for small businesses to keep their

workers on payroll. A second draw PPP loan program was implemented by the SBA that allowed certain eligible
borrowers that previously received a PPP loan to apply for a second draw PPP loan with the same general loan
terms as their first draw PPP loan. [https://www.sba.gov/funding-programs/loans/covid-19-relief-
options/paycheck-protection-program].




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                                                                                   Loan
                         Borrower                          Lender                                        Status
                                                                                 Principal
       3.2     ATA Fishville Management, LLC     Arizona Bank and Trust           $ 240,112      Forgiven
       4.1     AT FL Construction, LLC           Johnson Bank                     $ 102,000      Forgiven
       4.2     AT FL Construction, LLC           Arizona Bank and Trust            $ 52,218      Forgiven
       5.1     Brewhouse Fishville, LLC          Johnson Bank                     $ 403,000      Forgiven
       5.2     Brewhouse Fishville, LLC          Arizona Bank and Trust           $ 564,226      Forgiven
       6.1     Glenrosa 32, LLC                  Johnson Bank                     $ 529,500      Forgiven
       6.2     Glenrosa 32, LLC                  Arizona Bank and Trust           $ 529,500      Forgiveness Denied
       Total                                                                    $ 3,283,776

245. In 2020 and 2021, the SBA granted the six ArciTerra companies $3,283,776 in total. All PPP loans
      above were forgiven except for the second draw loan made to Glenrosa.
246. According to the SBA loan applications and other documentation, the PPP loan proceeds were to be
      used by the borrower to help fund payroll costs, including benefits, and may have also been used to pay
      for mortgage interest, rent, utilities, worker protection costs related to COVID-19, uninsured property
      damage costs caused by looting or vandalism during 2020, and certain supplier costs and expenses for
      operations. To identify any additional creditors, the Receivership Team analyzed whether the use of
      funds was in accordance with the PPP loan stipulations and therefore would not have to be paid back.
247. The Receivership Team reviewed the entities’ bank statements to confirm whether ArciTerra used the
      funds received from the lenders (i.e., AB&T and Johnson Bank) for payroll and related costs as
      represented and certified in the loan forgiveness applications by the respective applicants in
      accordance with the SBA requirements.
248. The Receiver found that of the $2,754,276 loan funds received and forgiven, $230,042, or 8.4%, was
      directly used for payroll. For Brewhouse Fishville, the direct use of the funds received could not be
      confirmed as other deposits and payments were aggregated with the PPP loan proceeds. The Receiver
      confirmed payments to ADP equaling the total amount of the $967,226 or 35.1% loan proceeds
      ultimately occurred after the funds were originally received. The Receivership Team could not verify
      whether the indirect use of funds for payroll is allowable or would be deemed unallowed by the SBA and
      therefore could become a potential liability.
249. ArciTerra used the remaining $1,557,008, or 56.5%, in funds forgiven to pay non-payroll costs and/or
      transferred to non-applicant entities such as ASR Advisor 2, ARC Olathe PT OLA KS, Spike Holdings, ASR
      Mauna Lani, ATA Fish FL Resort, ARC KLS Warsaw, and ATA Fish MGMT. Glenrosa transferred $157,729
      to “Glenrosa 32 LLC DBA Morningstar at Arcadia.” The direct use of these transferred funds could not




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       be determined due to other deposits and payments aggregated with these funds but ultimately,
       Glenrosa 32 LLC DBA Morningstar at Arcadia made payments to ADP equaling the transferred amount.
       As the use of funds were by a non-applicant, the $157,729 could be a potential liability as it is an
       unallowed use of loan funds. The remaining $1,399,280 could also be a potential liability as it was used
       for non-payroll costs by the applicant and/or transferred to non-applicant entities.
250. If the SBA were to conclude that a portion of the PPP loan proceeds were not directed toward payroll
       and allowable costs as seems to be the case, Arizona Bank and Trust, Johnson Bank, and ultimately the
       SBA could be potential creditors of various entities including Receivership Entities for the $1,557,008
       loan funds used directly to fund expenditures, other than payroll costs. In summary, our analysis is
       outlined in the table below:


                                               Potential                                           Not
                PPP Loans                                        Allowable     Unverif ied                          Total
                                                Liability                                       Applicable
Forgiveness Denied
 PPP second draw loan to Glenrosa 32
                                                                                                 $529,500        $529,500
 LLC repaid to Lender
Forgiven
  Direct use for payroll costs by applicants                     $230,042                                         $230,042
 Indirect use for payroll costs by
                                                                                $967,226                         $967,226
 applicants
 Unallowed use of funds:
    Indirectly used for payroll costs by non-
                                               $157,729                                                          $157,729
    applicant
    Transferred to non-applicants for
    undetermined use and/or used for          $1,399,280                                                         $1,399,280
    unallowed costs
Total                                         $1,557,008         $230,042      $967,226         $529,500        $3,283,776

251. Glenrosa initially applied for a $529,500 loan from the SBA in April 2020 and requested a second draw
       on February 18, 2021. The second loan was approved; however, the SBA required that the loan be
       repaid. Glenrosa appealed the SBA’s decision arguing that the loan review decision denying the loan’s
       forgiveness was made in error. On May 5, 2023, a hearing was held by the SBA; Glenrosa’s appeal was
       denied because the SBA determined that the borrower was ineligible for the PPP loan because it was
       organized as an ineligible Passive Real Estate Entity. The lender, Arizona Bank and Trust, confirmed
       Glenrosa repaid the second draw loan in full.




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VII. Litigation Claims of the Receivership
 252. The Receiver will bring actions and legal proceedings against various parties on behalf of the
       Receivership Estate in the future as allowed and contemplated for in the Receivership Order at
       paragraph 24, if warranted.


VIII. Future Actions and Recommendations
 253. The Receiver's initial focus was on securing and maintaining the assets of the Receivership Entities,
       progressing disposition of assets, tracing the flow and use of the individual investor funds and
       responding to inquiries from the investors, creditors and other interested parties.
 254. The Receiver’s work continues in accordance with the duties laid out in the Receivership Order. The
       Receiver is managing the Receivership Assets and stabilizing cash flows from income-generating assets,
       including streamlining the rent collection process, paying real estate taxes and property vendors,
       negotiating forbearances, and analyzing properties and assets for disposition or further action.
 255. The Receiver is also working to identify secured loans and other encumbrances on Receivership Assets
       and communicating and negotiating with lenders to implement strategies with respect to real property
       and other assets, including watercraft. The Receiver will continue to manage the real estate of the
       Receivership and will continue to entertain viable acquisition offers for all or part of the Receivership
       Assets.
 256. The Receiver identified multiple PPP loans obtained for ArciTerra and affiliated entities. The Receiver is
       investigating these and other SBA loans and subsequent disbursements.
 257. The Receiver will continue to identify potential additional entities or assets in which the Defendants or
       the Relief Defendants have an interest and are not currently part of the listed Receivership Entities or
       Receivership Assets and where assets may have been commingled with investor funds.
 258. The Receiver will continue to work to confirm the population of investors in Note Fund II, Note Fund III
       and other Investor Funds, as well as the total amount received from and paid to the investors, and the
       current capital balances and amounts due to the investors.
 259. The Receiver will retain an accounting firm to prepare and file the necessary federal and state tax
       returns for 2022, 2023, and 2024.
 260. The Receiver will continue his analysis of the Receivership Entities, including:
           a.    Continuing to trace and analyze Investor Funds and balances through books and records,
                 including bank accounts to (1) determine the degree to which investor funds were commingled
                 and used, (2) establish how much may be owed to investors, and (3) identify any funds related




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               to improper transactions that the Receiver may potentially recover to address investor and
               creditor claims.
          b.   Reviewing bank statements and credit card statements, as well as email communications. The
               Receiver will look to determine whether investor money was used to fund assets and/or
               expenses, improperly.
          c.   Compiling and reviewing historical bank records and other financial records to understand the
               overall operations of the Receivership Entities and determine the flow of funds between and
               amongst the entities, Mr. Larmore, and former employees and consultants of the ArciTerra
               entities.
          d.   Performing digital forensics on more than four million documents and emails for information
               relevant to understanding the operations of the Receivership Entities and the Receivership
               Assets.
          e.   Continuing interviews of former ArciTerra employees, consultants, and other relevant parties.
          f.   Determining the ultimate disposition of funds, if any, diverted from creditors and investors to
               other parties.
261. The Receiver intends to continue to seek Court approval of his actions going forward as necessary and
      appropriate under governing law and the Receivership Order.
262. Based on the Receiver’s work as described above, the Receiver recommends that the Receivership
      continue consistent with the Receivership Order. The reasons for continuing the Receivership include:
          a.   ArciTerra Operations. The Receiver is actively managing ArciTerra and related entities and
               properties, as detailed above. The nature of the Receivership Entities requires the ongoing
               management of the properties and corporate entities to prevent them from regressing.
          b.   Analysis to Determine Investor Obligations. The Receivership Team continues its ongoing
               analyses associated with unwinding the apparent commingling of investors’ funds. The
               commingling of so many entities’ funds may affect the determination of how the Receivership
               Estate will satisfy future claims. The Receiver is not yet in a position to approach a proposal to
               address creditors or investors at this time as the analyses discussed in this report are in
               process.
          c.   Asset Disposition. The Receiver, in accordance with Paragraph 6(N) of the Receivership Order,
               will continue to prepare real property and other assets, as appropriate and approved by the
               Court, for sale or further action.
263. The Receiver continues to research the extensive labyrinth of ArciTerra entities and properties. While it
      has reached no determination at this time about the appropriateness of adding corporate entities or




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        other assets to the Receivership, the Receiver reserves the right to do so, should the facts and
        circumstances dictate their inclusion.
  264. The Receiver reserves all rights to amend or supplement the information set forth herein and assert the
        rights of the Receivership as against any party, as appropriate.



Respectfully submitted,

June 7, 2024                               Allen D. Applbaum
                                           Receiver of ArciTerra Companies, LLC and Related Entities




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Commercial Properties
There are 39 commercial properties within the scope of the ArciTerra Receivership.
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Residential Properties
There are 9 residential properties that are within the scope of the ArciTerra Receivership.
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Properties Lost Pre-Receivership
There are 30 properties that were lost to pre-existing receiverships. There are an additional 6 properties that were lost to bank
foreclosures, and 2 properties lost to tax liens.
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                                                                                       Commercial Properties
      Portfolio/Single   Portfolio Name or Asset
No.                                                        Owner (ArciTerra Entity)                         Center Name                                      Address                          Property Manager
         Property                  Group
                                                                                                                                            155, 159, 163, 167 Palencia Village Dr., St.
1     Single Property      Mercado/Palencia           ATA Mercado St. Augustine FL, LLC                       Mercado                                                                         SEC Receiver Team
                                                                                                                                                      Augustine, FL 32095
                                                                                                                                            7440 US Highway 1 North, St. Augustine, FL
2     Single Property      Mercado/Palencia            ATA Palencia St. Augustine FL, LLC                      Palencia                                                                       SEC Receiver Team
                                                                                                                                                             32095
3     Single Property          Glenrosa32                        Glenrosa 32, LLC                            MorningStar                       3200 E Glenrosa Phoenix, AZ 85018                 MorningStar
                                                            AT Auburn Plaza IN II, LLC
4        Portfolio             REIT 3650                                                                    Auburn Plaza                   506 North Grandstaff Drive, Auburn, IN 46706      Cushman & Wakefield
                                                         AT Auburn Plaza Member, LLC
                                                        ATA Lanier Fayetteville GA II, LLC
5        Portfolio             REIT 3650                                                                Main Street Building                320 W. Lanier Ave., Fayetteville, GA 30214       Cushman & Wakefield
                                                        ATA Lanier Fayetteville Member
                                                            AT HL Burlington IA II, LLC
6        Portfolio             REIT 3650                                                                Burlington Plaza West                  3351 Agency St., Burlington, IA 52601         Cushman & Wakefield
                                                         AT HL Burlington Member, LLC
                                                             AT Ville Platte LA II, LLC
7        Portfolio             REIT 3650                                                                     Ville Platte                    915 E. LaSalle St., Ville Platte, LA 70586      Cushman & Wakefield
                                                           AT Ville Platte Member, LLC
                                                         AT Altus Cumberland GA II, LLC
8        Portfolio             REIT 3650                                                                 Cumberland Place                    2997 Cumberland Cir., Atlanta, GA 30339         Cushman & Wakefield
                                                      AT ALTUS Cumberland Member, LLC
                                                               AT Sweden NY II, LLC
9        Portfolio             REIT 3650                                                                       Sweden                     1651 Nathaniel Poole Trl., Brockport, NY 14420     Cushman & Wakefield
                                                            AT Sweden Member, LLC
                                                              AT Eastman GA II, LLC
10       Portfolio             REIT 3650                                                             Eastman Shopping Center                    970 Indian Dr., Eastman, GA 31023            Cushman & Wakefield
                                                            AT Eastman Member, LLC
                                                          AT New Lenox IL-Inline II, LLC
11       Portfolio             REIT 3650                                                                     New Lenox                     2021 East Laraway Rd., New Lenox, IL 60451        Cushman & Wakefield
                                                         AT New Lenox-IL Member, LLC
                                                              AT Longview TX II, LLC
12       Portfolio             REIT 3650                                                                      Longview                          711 Estes Dr., Longview, TX 75602            Cushman & Wakefield
                                                           AT Longview Member, LLC
                                                         AT Seven Hills Aurora CO II, LLC
13       Portfolio             REIT 3650                                                                  Seven Hills Plaza                 18511 E. Hampden Ave., Aurora, CO 80013          Cushman & Wakefield
                                                       AT Seven Hills Aurora Member, LLC
                                                              AT Mayodan NC II, LLC
14       Portfolio             REIT 3650                                                                      Mayodan                        131 Commerce Dr., Mayodan, NC 27027             Cushman & Wakefield
                                                            AT Mayodan Member, LLC
                                                             AT PT Danville IL II, LLC
15       Portfolio             REIT 3650                                                                   Pine Tree Plaza                    22 West Newell Rd., Danville, IL 31082         Cushman & Wakefield
                                                          AT PT Danville Member, LLC
                                                       5339 ELVIS PRESLEY BOULEVARD                                                         5339 Elvis Presley Boulevard, Memphis, TN,
16       Portfolio               Rialto                                                                 Belvedere Commons                                                                        SVN Elevate
                                                                MEMPHIS TN, LLC                                                                               38116
                                                   700 North Grand Avenue Mt. Pleasant IA,
17       Portfolio               Rialto                                                                   Orscheln's Center                700 North Grand Ave., Mt. Pleasant, IA 52641          SVN Elevate
                                                                        LLC
18       Portfolio               Rialto             8001 Vaughn Road Montgomery AL, LLC                     Festival Plaza                  8001 Vaughn Road, Montgomery, AL 36116               SVN Elevate
19       Portfolio               Rialto                601 Trenton Road McAllen TX, LLC                     McAllen Plaza                      601 Trenton Road, McAllen, TX 78504               SVN Elevate
                                                   60 Colonial Promenade Parkway Alabaster                                                 60 Colonial Promenade Parkway Alabaster, AL
20       Portfolio               Rialto                                                                 Shoppes at Alabaster                                                                     SVN Elevate
                                                                      AL, LLC                                                                                35007
21       Portfolio               Rialto               81 Jameson Lane Greenville AL, LLC                   Greenville Plaza                   81 Jameson Lane, Greenville, AL 36037              SVN Elevate
                                                    752 South Andy Griffith Parkway Mt. Airy
22       Portfolio               Rialto                                                                Wachovia Shops Plaza               752 S. Andy Griffith Parkway, Mt. Airy, NC 27030       SVN Elevate
                                                                      NC, LLC
23       Portfolio               Rialto               1921 Gallatin Pike Nashville TN, LLC               Men's Wearhouse                   1921 Gallatin Pike North, Madison, TN 37115           SVN Elevate
24       Portfolio               Rialto             5450 US Highway 80 East Pearl MS, LLC                Office Depot Plaza                 5450 US Highway 80 East, Pearl, MS 39208             SVN Elevate
25       Portfolio               Rialto              412 Cross Oaks Mall Plainwell MI, LLC                Plainwell Plaza                    412 Cross Oaks Mall, Plainwell, MI 49080            SVN Elevate
26       Portfolio               Rialto             2513 E. North Street Kendallville IN, LLC            Kendallville Plaza                2513-2521 E North St., Kendallville, IN 46755         SVN Elevate
                                                                                                                                            5157 Jimmy Lee Smith Parkway, Hiram, GA
27    Single Property            Rialto                    ATA Hiram Square GA, LLC                         Hiram Square                                                                         SVN Elevate
                                                                                                                                                              30141
                         National REIT/KS State                                                 Available - Greeleyville (former Family
28       Portfolio                                     ArciTerra FD Greeleyville SC, LLC                                                  10000 US Highway 521, Greeleyville, SC 29056           SVN Elevate
                                  Bank                                                                          Dollar)
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                                                                                         Commercial Properties
      Portfolio/Single   Portfolio Name or Asset
No.                                                      Owner (ArciTerra Entity)                        Center Name                                    Address                      Property Manager
         Property                  Group
                         National REIT/KS State
29       Portfolio                                    ArciTerra VN Clarksville TN, LLC              Angry Crab - Clarksville              2135 Lowes Dr., Clarksville, TN 37040         SVN Elevate
                                   Bank
                         National REIT/KS State
30       Portfolio                                     ArciTerra VN Dickson TN, LLC               Lowe's Outparcel - Dickson               100 Lowes Road, Dickson, TN 37055            SVN Elevate
                                   Bank
                         National REIT/KS State
31       Portfolio                                    ArciTerra WG Milwaukee WI, LLC                 Available - Milwaukee            8488 Brown Deer Road, Milwaukee, WI 53223         SVN Elevate
                                   Bank
32    Single Property        StanCorp/REIT 1                Walcent Elk/IN, LLC                         Northfield Plaza                   2719 Emerson Dr., Elkhart, IN 46514       SEC Receiver Team
                          StanCorp/Fishermen's
33    Single Property                                    900 West Marion FL LLC                         900 W. Marion                      900 W. Marion Ave, Punta Gorda, FL        SEC Receiver Team
                                  Village
34    Single Property            Bass Pro              ArciTerra BP Olathe KS, LLC                     Bass Pro - Olathe                 12051 S Renner Blvd., Olathe, KS 66061      SEC Receiver Team
35    Single Property         Olathe Outlot 5             AT Olathe Outlot 5, LLC              Olathe Outlot 5 (Granite City Grill)       15085 W 119th St., Olathe KS 66602         SEC Receiver Team
36    Single Property     New Lenox Outparcel          AT New Lenox IL-Outlots, LLC                  New Lenox Outparcel                  E. Laraway Rd., New Lenox, IL 60451        SEC Receiver Team

37    Single Property        1000 W Marion            1000 WEST MARION PG FL LLC                        1000 W Marion                 1000 W. Marion Avenue, Punta Gorda, FL 33950   SEC Receiver Team

                          925 W Marion/960 W
38    Single Property                              925 W. Marion/960 W. Olympia FL, LCC                 925 W. Marion                   925 W. Marion Ave., Punta Gorda, FL 33950    SEC Receiver Team
                                Olympia
                          926 W Marion/960 W
39    Single Property                              925 W. Marion/960 W. Olympia FL, LCC                 960 W. Olympia                 960 W. Olympia Ave., Punta Gorda, FL 33950    SEC Receiver Team
                                Olympia
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                                        Residential Properties
No.              Owner                                 Address                                 Property Type
                                       751 W Retta Esplanade, Punta Gorda, FL
1     751 W Retta Esplanade FL, LLC                                                             Residential
                                                       33950
                                      1001 West Marion Avenue, Unit 21, Punta
2          Spike Holdings LLC                                                        Residential; Condominium Unit
                                                  Gorda, FL 33950
                                      880 West Marion Avenue, Punta Gorda, FL
3          Spike Holdings LLC                                                                   Residential
                                                       33950

4          Spike Holdings LLC         150 Shreve Street, Punta Gorda, FL 33950                 Vacant Land

                                          11751 Black Point Road, Syracuse, IN
5           Jonathan Larmore                                                                    Residential
                                                          46567
                                         8150 East Highland View Drive, Syracuse,
6            HV Gardens LLC                                                                     Residential
                                                        IN, 46547
                                         10507 N. Grand Boulevard, Syracuse, IN,
7          Morrison Island LLC                                                                  Residential
                                                          46567
                                          567 Mountain Village Blvd, Unit 114-6
8            FK Telluride LLC                                                         Residential; Timeshare Unit
                                                  Telluride, CO, 81435
                                          567 Mountain Village Blvd, Unit 115-1,
9            FK Telluride LLC                                                         Residential; Timeshare Unit
                                                  Telluride, CO, 81435
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ArciTerra Entities with Outstanding 2022 Federal and State Tax Returns Provided to the Receiver by CLA


CLIENT NAME
Arciterra Strategic Retail Plaza OK LLC                                                         Form 1065
Arciterra Strategic Retail Briargate & Linden LLC                                               Form 1065
Arciterra Strategic Retail Wheatland                                                            Form 1065
Arciterra REIT Advisors, LLC                                                                    Form 1065
Arciterra Group, LLC                                                                            Form 1065
Arciterra Real Estate Investment Trust Inc                                                         REIT
2006 operating                                                                                  Form 1065
Arciterra Walcent Portfolio LP                                                                  Form 1065
Arciterra Note Advisors, LLC                                                                    Form 1065
Arciterra Note Advisors II, LLC                                                                 Form 1065
Arciterra 32nd Street Advisors, LLC                                                             Form 1065
CSL Investments, LLC                                                                            Form 1065
Walcent Shelby MI, LLC                                                                          Form 1065
Arciterra Strategic Income Advisors, LLC                                                        Form 1065
Arciterra Strategic Income Belleville Crossing Inc                                                 REIT
Arciterra Strategic Retail Echelon IN (III), LLC                                                Form 1065
Arciterra Strategic Retail Park Lee (V), LLC                                                    Form 1065
Arciterra Strategic Retail Advisors, LLC                                                        Form 1065
AT Altus Echelon IN, LLC                                                                        Form 1065
Arciterra Note Advisors III, LLC                                                                Form 1065
Arciterra National REIT Advisors, LLC                                                           Form 1065
Arciterra National REIT, INC                                                                       REIT
Arciterra National REIT, LP                                                                     Form 1065
Glenrosa 32, LLC                                                                                Form 1065
ATR 32 LLC                                                                                      Form 1065
ASR Centerville & Colony GA LLC                                                                 Form 1065
Arciterra REIT RSC, LP                                                                          Form 1065
Wawasee Family Limited Partnership                                                              Form 1065
AT Longview LLC                                                                                 Form 1065
ASR Mauna Launi                                                                                 Form 1065
ASR REIT LP                                                                                     Form 1065
ArciTerra Strategic Retail REIT, INC                                                            Form 1120
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ArciTerra Entities with Outstanding 2022 Federal and State Tax Returns Provided to the Receiver by CLA


CLIENT NAME- SMLLC                                                                           SMLLC OWNER
Burlington (SMLLC)                                                                          ASR Advisor, LLC
New Lenox (SMLLC)                                                                           ASR Advisor, LLC
AT Telcom 32 LLC                                                                            ASR Advisor, LLC
Arciterra Strategic Retail Fayetteville GA, LLC (SMLLC)                                     ASR Advisor, LLC
AT JPM Lindenhurst (SMLLC)                                                                  ASR Advisor, LLC
AT MF Las Vegas (SMLLC)                                                                     ASR Advisor, LLC
AT Eastman GA, LLC (SMLLC)                                                                  ASR Advisor, LLC
AT Sandersville GA, LLC (SMLLC)                                                             ASR Advisor, LLC
AT Boutte LA LLC                                                                            ASR Advisor, LLC
AT Castleton IN LLC                                                                         ASR Advisor, LLC
AT PT Danville IL LLC                                                                       ASR Advisor, LLC
AT Jefferson Center FW IN LLC                                                               ASR Advisor, LLC
AT New West Clifton Co, LLC                                                                 ASR Advisor, LLC
ASR Seven Hills CO, LLC                                                                     ASR Advisor, LLC
AT Midway Elyria OH LLC                                                                     ASR Advisor, LLC
AT Wildwood Plaza MO LLC                                                                    ASR Advisor, LLC
AT Lubbock TX LLC                                                                           ASR Advisor, LLC
AT Cedartown GA LLC                                                                           ASRA 2***
AT Ville Platte LA LLC                                                                          ASRA 2
AT Pueblo West CO LLC                                                                           ASRA 2
AT Mayodan NC LLC                                                                               ASRA 2
AT Sweden NY LLC                                                                                ASRA 2
AT Bloomington                                                                                  ASRA 2
Spike LLC                                                                                      J Larmore
ASRA2 LLC                                                                                      Spike LLC
900 Marion Ave                                                                                  ASRA 2
AT Suffolk                                                                                      ASRA 2
AT Castleton                                                                                    ASRA 2
JB RE Investments                                                                              J Larmore
JML                                                                                            J Larmore
Brewhouse I LLC                                                                                J Larmore
Arciterra Strategic Retail Forum KY LLC                                                        J Larmore
JJF Mattress LLC (SMLLC)                                                                       J Larmore
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                                   Summary of Investor Funds Detail (In Receivership Scope)
                     Investor Fund                       Date of POM           Investor Count*             Total Raised**
 1 ArciTerra National REIT, Inc.                           10/28/08                            388                  $16,330,350
 2 ArciTerra Note Fund II, LLC                             11/17/06                            449                  $20,000,000
 3 ArciTerra Note Fund III, LLC                            03/21/08                            541                  $25,000,000
 4 ArciTerra REIT, Inc.                                    04/03/06                            498                  $20,258,940
 5 ASI Belleville Crossing IL, LLC                         09/16/11                            161                   $7,376,760
 6 ASR Briargate & Linden IL, LLC                          06/16/14                             75                   $4,245,194
 7 ASR Centerville & Colony GA, LLC                        11/30/15                              7                   $1,210,869
 8 ASR Plainfield Village IN, LLC                          11/12/15                             15                   $3,025,000
 9 ASR Trinity Place TN, LLC                               06/30/11                             62                   $1,838,333
10 ASR Wheatland IL, LLC                                   03/01/15                            112                   $5,254,834
11 Whitefish Opportunity Fund, LLC                         05/04/07                            157                   $6,344,000



 * The Investor Count amounts are based on the Receiver's work to date and may change as the Receiver's work is ongoing.
** Total Raised represents the total amount raised from investors in the Investor Funds and is not intended to represent amounts
   due to investors in these Investor Funds.
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                                                                     SUMMARY

                                Hypothetical Calculation Including Preferred Return and/or stated and default interest rates
                   PER UNIT/SHARE             TOTAL
                 INTEREST/DIVIDENDS INTEREST/DIVIDENDS             PER UNIT/SHARE                                                      TOTAL AMOUNT
  PROGRAM               DUE                    DUE                  PRINCIPAL DUE        TOTAL PRINCIPAL DUE TOTAL PER UNIT DUE             DUE
Arciterra REIT                 $10.80         $21,872,362.31                       10.00           20,258,940.00             $20.80      $42,131,302.31
National REIT                   $3.67           $5,996,975.50                      10.00           16,330,350.00             $13.67      $22,327,325.50
Note Fund 2                     $1.25         $24,920,644.01                        1.00           20,000,000.00              $2.25      $44,920,644.01
Note Fund 3                     $1.25         $31,210,920.28                        1.00           25,000,000.00              $2.25      $56,210,920.28




                                                                                                                TOTAL PREFERRED        DIVIDENDS DUE
                                                                                       TOTAL DIVIDENDS PAID     RETURN 7/15/06-        FOR PREF SINCE         PER SHARE        PER SHARE                             TOTAL PER
  PROGRAM          PRINCIPAL DUE           # OF SHARES          PREFERRED RETURN             TO DATE                9/30/23              INCEPTION          DIVIDENDS DUE    PRINCIPAL DUE       TOTAL DUE           UNIT DUE                                                7/15/2006
Arciterra REIT        $20,258,940.00             2,025,894.00          8%                       $6,039,461.65       $27,911,823.96       $21,872,362.31               $10.80         $10.00        $42,131,302.31         $20.80                                             9/30/2023
                                                                                                                                                                                                                                                                             4/15/2009
                                                                                                                                                                                                                                                                             3/15/2007
                                                                                                                TOTAL PREFERRED        DIVIDENDS DUE
                                                                                       TOTAL DIVIDENDS PAID     RETURN 4/15/09-        FOR PREF SINCE         PER SHARE        PER SHARE                             TOTAL PER
 PROGRAM           PRINCIPAL DUE           # OF SHARES          PREFERRED RETURN             TO DATE                9/30/23              INCEPTION          DIVIDENDS DUE    PRINCIPAL DUE       TOTAL DUE           UNIT DUE                                                2/15/2010
National REIT         $16,330,350.00             1,633,035.00          8%                      $12,905,069.07       $18,902,044.57         $5,996,975.50               $3.67         $10.00        $22,327,325.50         $13.67                                             3/15/2010
                                                                                                                                                                                                                                                                             5/15/2010
                                                                                                                                                                                                                                                                             5/16/2010
                                                                                                                                                                                                                                                                             2/16/2010

                                                                                                                                      STATED INTEREST                           TOTAL                         TOTAL PER      TOTAL PER                             TOTAL
                                                                                         DEFAULT INTEREST       STATED INTEREST          2/16/2010-        DEFAULT INTEREST INTEREST PAID                    UNIT INTEREST     UNIT                               PER UNIT
  PROGRAM          PRINCIPAL DUE            # OF UNITS         STATED INTEREST RATE           RATE              3/15/07-2/15/10          5/15/2010         5/16/2010-9/30/23   TO DATE    TOTAL INTEREST DUE      DUE      PRINCIPAL DUE           TOTAL DUE        DUE      5/15/2008
                                                              YEARS 1-3: 8.25%
                                                              YEAR 4: 8.75%
Note Fund 2            $20,000,000.00           20,000,000.00 YEAR 5: 9.25%                     12%                   $4,950,000.00         $421,917.81        $32,120,547.95 $12,571,821.74       $24,920,644.01           $1.25          $1.00 $44,920,644.01      $2.25




                                                                                                                                                                                                                      TOTAL PER
                                                                                         DEFAULT INTEREST        STATED INTEREST      DEFAULT INTEREST      TOTAL INTEREST       TOTAL         TOTAL PER UNIT           UNIT                       TOTAL PER
  PROGRAM          PRINCIPAL DUE            # OF UNITS           STATED INTEREST              RATE              5/15/08-5/15/2010     5/16/2010-9/30/23      PAID TO DATE     INTEREST DUE      INTEREST DUE        PRINCIPAL DUE   TOTAL DUE      UNIT DUE
                                                              YEARS 1-4: 9.25%
Note Fund 3            $25,000,000.00           25,000,000.00 YEAR 5: 10.5%                     12%                   $4,625,000.00      $40,150,684.93        $13,564,764.65 $31,210,920.28               $1.25            $1.00 $56,210,920.28          $2.25
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                NOTE FUND II – OWNERSHIP STRUCTURE
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               NOTE FUND III – OWNERSHIP STRUCTURE
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Summary of Change In Cash Balances - December 21, 2023 through April 30, 2024




                                                   Balance as of                            Balance as of
    Asset Group                                    12/21/2023           Net Change           4/30/2024


    Operating Businesses
         Village Brewhouse                                $55,300          $1,056,100          $1,111,400

         Simply Sweet                                     $58,570               $152,930         $211,500



    Commercial Properties
        Glenrosa                                         $556,500           ($134,500)           $422,000

         REIT3650                                        $186,400               $636,600         $823,000

         Rialto                                          $120,400                $53,700         $174,100

         KS State Bank                                             $0                $0                     $0

         Single Properties                                $66,200               $232,100         $298,300
